                     3:18-cv-03142-SEM-TSH # 45-1                    Page 1 of 37
                                                                                                                            E-FILED
                                              JUWAN MOORE 1/9/2019 Thursday, 14 March, 2019 03:59:58 PM
                                                                             EXHIBIT A
                                                                           Clerk, U.S. District Court, ILCD
                                                   Page 1                                                              Page 3
  1       IN THE UNITED STATES DISTRICT COURT                 1                APPEARANCES
          FOR THE CENTRAL DISTRICT OF ILLINOIS                2
  2                                                           3     Mr. Juwan Moore, pro se, via video.
  3                                                           4
  4   JUWAN MOORE, #Y-21806, )                                5     Counsel for the Defendants:
                      )                                             Ms. Sierra Senor-Moore
  5         Plaintiff, )                                      6     Assistant Attorney General
                      ) Case No.                                    500 South Second Street
  6   vs.               ) 18-3142-SEM-TSH                     7     Springfield, Illinois 62701
                      )                                             (217) 782-2077
  7   TRAVIS L. COOLEY, ET AL, )                              8     ssenormoore@atg.state.il.us
                      )                                       9
  8         Defendants. )                                    10
  9                                                          11
 10                                                          12
 11           VIDEO DEPOSITION OF JUWAN MOORE, produced,     13
 12   sworn, and examined on January 9, 2019, between the    14
 13   hours of eight o'clock in the forenoon and six         15
 14   o'clock in the afternoon of that day, at the offices   16
 15   of Illinois Attorney General, 3000 Montvale Drive,     17
 16   Springfield, Illinois, 62704, before Julie A. Brown,   18
 17   Certified Court Reporter, in a certain cause now
                                                             19
 18   pending in the United States District Court for the
                                                             20     Alaris Litigation Services
 19   Central District of Illinois, wherein JUWAN MOORE,
                                                                    Julie A. Brown, CSR
                                                             21     Illinois CSR #084-004174
 20   #Y-21806 is the Plaintiff, and TRAVIS L. COOLEY, ET
                                                                    711 North 11th Street
 21   AL are the Defendants.
                                                             22     St. Louis, Missouri 63101
 22
                                                                    314-644-2191
 23
                                                             23     1-800-280-3376
 24
                                                             24

                                                   Page 2                                                              Page 4
  1                   INDEX                                  1         IT IS HEREBY STIPULATED AND AGREED, by and
  2                                                          2    between Plaintiff and counsel for the Defendants that
       QUESTIONS BY:                          PAGE NO.       3    this deposition may be taken in shorthand by Julie A.
  3
                                                             4    Brown, a Certified Court Reporter, and afterwards
       Examination By MS. SENOR-MOORE                    4
  4                                                          5    transcribed into typewriting; and the signature of
  5                                                          6    the witness is expressly reserved.
                      EXHIBITS                               7         (Deposition commenced at 1:51.)
  6                                                          8                * * * * *
  7    EXHIBIT DESCRIPTION                      PAGE MKD
       NO.                                                   9                 JUWAN MOORE,
  8                                                          10   of lawful age, produced, sworn, and examined on
       None.                                                 11   behalf of the Defendants, deposes and says:
  9                                                          12                EXAMINATION
 10
                                                             13   BY MS. SENOR-MOORE:
 11
 12                                                          14     Q. And so now you understand that you're under
 13                                                          15   oath and that any testimony today has the same effect
 14                                                          16   as if you were actually in court testifying.
 15                                                          17     A. All right.
 16
 17                                                          18     Q. I'm going to ask a series of questions. If
 18                                                          19   there's ever a question that you don't understand,
 19                                                          20   you can ask me to reask the question, or I can
 20                                                          21   rephrase it, but you have to let me know that you
 21
                                                             22   don't understand it. Okay?
 22
 23                                                          23     A. All right.
 24                                                          24     Q. If you don't say anything, then I'll just



                                                                                                        1 (Pages 1 to 4)
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                        3:18-cv-03142-SEM-TSH # 45-1                   Page 2 of 37

                                             JUWAN MOORE 1/9/2019

                                                      Page 5                                                              Page 7
  1   assume you understand the question.                       1     Q. The last page. Because I have a stack and
  2     A. All right.                                           2   it's 20 pages and I just wanted to make sure you have
  3      Q. If I ask a question, please allow me to             3   the exact same stack that I have.
  4   finish the question before you respond and I'll grant     4     A. Yeah, they're the same, 20.
  5   you that same respect. Otherwise, it might be             5     Q. I may refer to those pages at some point in
  6   difficult for the court reporter to hear because she      6   time and when I do refer to them, I'm going to call
  7   has to take down everything that we say. So we need       7   them Bates-stamp number and then gave you the number
  8   to make sure we're not speaking over one another.         8   of the page. Okay?
  9     A. All right.                                           9         Because that number at the bottom is called
 10      Q. Are you currently represented by an                10   a Bates-stamp, and so I'm just going to say
 11   attorney?                                                11   Bates-stamp number and then whatever that page number
 12     A. No, ma'am.                                          12   is. Okay?
 13      Q. Have you talked to an attorney in regards to       13     A. All right.
 14   this lawsuit?                                            14     Q. Okay. Let me know if you have any questions
 15     A. I talked to a couple of them.                       15   about that or if you don't have something once we
 16      Q. And did you retain them to be your attorney?       16   start looking for it. Okay?
 17     A. Yeah, but they never -- they denied me.             17     A. All right.
 18      Q. They denied to represent you?                      18     Q. Okay. So let's start off with the
 19     A. Right.                                              19   questions. Could you tell me your current age and
 20      Q. Okay. So you don't have any representation         20   when your birthday is?
 21   in this case. Correct?                                   21     A. I'm 21 now and my birthday is
 22     A. Correct.                                            22
 23      Q. Are you taking any type of medication today?       23     Q. And where were you born?
 24     A. This morning.                                       24     A. Illinois.



                                                      Page 6                                                           Page 8
  1     Q. Okay. Is there some sort of medication that          1      Q. What city in Illinois?
  2   you're supposed to be taking that you did not take        2      A. Chicago.
  3   today?                                                    3      Q. Okay. And did you finish high school?
  4     A. No.                                                  4      A. Yes.
  5     Q. Okay. Do you have any type of illness that           5      Q. Did you go to college or take any classes
  6   would prevent you from answering the questions            6   after high school?
  7   truthfully?                                               7      A. No.
  8     A. No.                                                  8      Q. Okay. So your highest level of education is
  9     Q. Okay. You have some papers in front of you.          9   high school?
 10   I sent over some paperwork that included your medical    10      A. Yes.
 11   records. Do you have those with you?                     11      Q. Okay. And you're currently in the custody
 12     A. Yes, ma'am.                                         12   of Illinois Department of Corrections. Correct?
 13     Q. Okay. The first page of mine starts with --         13      A. Right. Correct.
 14   it's a offender outpatient progress note and the date    14      Q. And you're currently placed at Pontiac
 15   is November 27, 2017.                                    15   Correctional Center.
 16     A. Yeah, I have that.                                  16      A. Right.
 17     Q. You have that? And then at the bottom it's          17      Q. Okay. And how long have you been placed at
 18   marked Moore v. Cooley, et al, 18-3142, IDOC Number,     18   Pontiac?
 19   and then it has five zeros and then a 1.                 19      A. Almost a year. Eleven months.
 20     A. Right.                                              20      Q. And how long have you been in the custody of
 21     Q. Is that what yours say?                             21   the Department of Corrections?
 22     A. Yes.                                                22      A. Three years.
 23     Q. And then mine go to page 000020.                    23      Q. And what are you currently in the Department
 24     A. You're talking next page?                           24   of Corrections for?



                                                                                                          2 (Pages 5 to 8)
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                       3:18-cv-03142-SEM-TSH # 45-1                      Page 3 of 37

                                               JUWAN MOORE 1/9/2019

                                                        Page 9                                                         Page 11
  1     A. Do I have to answer that?                               1   or a doctor before you were --
  2     Q. At depositions, you generally answer                    2     A. Department of Corrections.
  3   everything. If you would like to raise an objection          3     Q. A doctor there?
  4   you can, but generally yes, you do have to answer the        4     A. Yeah.
  5   question.                                                    5     Q. Do you see a doctor there at Pontiac now?
  6     A. All right. Armed robbery.                               6     A. Yes.
  7     Q. Armed robbery. Okay. And how long is your               7     Q. And does he prescribe you any medication?
  8   sentence?                                                    8     A. Yes. It's called Abilify.
  9     A. Eleven years.                                           9     Q. Abetify?
 10     Q. Do you know when you are currently set to be           10     A. Abilify. Something like that.
 11   released?                                                   11     Q. Do you know how to spell that?
 12     A. 10/18/21.                                              12     A. No.
 13     Q. And that's with the good time credits?                 13     Q. Okay. Do you know your doctor's name there?
 14     A. Yes.                                                   14     A. No.
 15     Q. And have you previously been with the                  15     Q. Is it a man or a woman?
 16   Illinois Department of Corrections before this              16     A. It can be different people sometime.
 17   sentencing?                                                 17     Q. Okay. So you just see different doctors
 18     A. No.                                                    18   within -- whoever's there.
 19     Q. Do you have any other felonies besides the             19     A. Yeah.
 20   one that you're currently in the Department of              20     Q. Do you know if you -- which doctor
 21   Corrections for?                                            21   prescribed you the medication?
 22     A. No.                                                    22     A. No.
 23     Q. Have you ever been known by any other name             23     Q. Did you take that Abilify today?
 24   besides Juwan Moore?                                        24     A. I take it at nighttime.


                                                        Page 10                                                        Page 12
  1     A. No.                                                     1      Q. Okay. Did you take it last tight?
  2     Q. Since you've been in the Illinois Department            2      A. Yes.
  3   of Corrections, do you have an STG designation?              3      Q. Do you think that it in any way affects your
  4     A. Yeah.                                                   4   ability to hear or listen and answer the questions?
  5     Q. And what is that?                                       5      A. No.
  6     A. I just got an STG for fighting in seg, but              6      Q. Do you think that would affect your ability
  7   I'm not part of a gang, no.                                  7   to continue to remain seated the entire time that
  8     Q. Have you ever been affiliated with any                  8   we're having the deposition?
  9   gangs?                                                       9      A. Yes.
 10     A. No.                                                    10      Q. You think it might affect your ability to
 11     Q. And have you ever been affiliated with a               11   remain seated?
 12   gang before you came into the Illinois Department of        12      A. No.
 13   Corrections?                                                13      Q. Okay. Have you ever filed any lawsuits?
 14     A. No.                                                    14      A. This is my first one.
 15     Q. Okay. Do you suffer from any type of mental            15      Q. Did you do anything to prepare for today's
 16   illness?                                                    16   deposition?
 17     A. Not -- yes.                                            17      A. I just gathered my evidence. That's it.
 18     Q. What -- can you tell us what you've been               18      Q. You gathered your evidence?
 19   diagnosed with?                                             19      A. Yeah.
 20     A. Bipolar and something else. I can't                    20      Q. And what does that consist of?
 21   remember the name right now.                                21      A. My photos and my medical records.
 22     Q. And who were you diagnosed by?                         22      Q. Did you speak with anyone?
 23     A. A doctor.                                              23      A. Pertaining to this?
 24     Q. The doctor in the Department of Corrections            24      Q. Yeah.



                                                                                                        3 (Pages 9 to 12)
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                        3:18-cv-03142-SEM-TSH # 45-1                   Page 4 of 37

                                                 JUWAN MOORE 1/9/2019

                                                      Page 13                                                        Page 15
  1     A. No.                                                   1      Q. Can you move the microphone closer to his
  2     Q. And did you review any documents beyond the           2   mouth? The court reporter is having some trouble
  3   medical records and pictures?                              3   hearing him.
  4     A. Yes.                                                  4         UNKNOWN SPEAKER: I actually cannot because
  5     Q. What documents did you review?                        5   the microphone is inside the unit which sits on top
  6     A. Just all my medical records and this photo.           6   of the television.
  7     Q. Did you write the complaint that you filed            7         MS. SENOR-MOORE: Okay. All right.
  8   on June 12, 2018?                                          8      Q. Mr. Moore, I'm going to ask you to speak up
  9     A. I did some of it. Somebody helped me too,             9   a little bit then. Okay?
 10   though.                                                   10      A. All right.
 11     Q. And who helped you?                                  11      Q. All right. Thanks.
 12     A. It was a person who go by the name of                12         So in February 2018, were you involved in
 13   Campbell.                                                 13   school?
 14     Q. You said Cameron?                                    14      A. Yes.
 15     A. Campbell.                                            15      Q. Okay. And what -- when you're going to
 16     Q. Camel?                                               16   school, what time will you go to school?
 17     A. Yeah.                                                17      A. 7:45.
 18     Q. You can go ahead and spell that.                     18      Q. And how far is the school from where you
 19     A. C-A-M-P-B-E-L-L.                                     19   were? Your cell that you were living in?
 20     Q. And is that an inmate at Pontiac?                    20      A. It's not that far. It's right there.
 21     A. Yes. He was currently in Pontiac, but he's           21      Q. When you say right there, do you have to
 22   gone now.                                                 22   walk through any doorways or any --
 23     Q. Do you know if he's still in the Department          23      A. Yeah. You have to walk down the stairs
 24   of Corrections or if he was released?                     24   through like two doors, walk outside through the


                                                      Page 14                                                        Page 16
  1     A. He's still -- he's still locked up.                   1   gate, walk a little bit more, and you make a left.
  2     Q. He was just transferred?                              2   You go down there to the end -- far end, it's going
  3     A. Yes.                                                  3   to be right there.
  4     Q. And is Campbell his first -- his real name            4     Q. About how long is that walk?
  5   or is that a nickname?                                     5     A. About like two or three minutes.
  6     A. As far as I know, that's his real name.               6     Q. And when you go to school, do you walk by
  7     Q. And is that his first or last name?                   7   yourself or do you walk with other inmates?
  8     A. Last name.                                            8     A. Walk with other inmates.
  9     Q. Do you know what his first name is?                   9     Q. How many inmates do you think you were
 10     A. Travis, I believe.                                   10   walking with on the morning of February 2nd, 2018?
 11     Q. Okay. Thank you.                                     11     A. At this time when it happened there was only
 12         So let's turn our attention to the day of           12   three of us altogether including me out there.
 13   the incident. Okay?                                       13   Everybody else was coming out. They were going to
 14     A. All right.                                           14   school. They hadn't made it that far.
 15     Q. So do you remember where you were placed in          15     Q. Okay. So who was escorting you and the
 16   February 2018?                                            16   other three inmates?
 17     A. Yes. I was on 3B wing in Mt. Sterling.               17     A. We was signing out.
 18     Q. I'm sorry. What did you -- was the last              18     Q. You were signing out of school?
 19   thing you said?                                           19     A. Yeah. You have to sign out. You walk by
 20     A. I was in Mt. Sterling. Prison called Mt.             20   yourself.
 21   Sterling.                                                 21     Q. So were you leaving the school classroom?
 22     Q. Okay. Is it possible -- is there someone in          22     A. No. I was actually going to school. I was
 23   the room with you?                                        23   signing out off my gallery wing.
 24     A. Yes.                                                 24     Q. So you were signing out of your gallery wing



                                                                                                       4 (Pages 13 to 16)
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                      3:18-cv-03142-SEM-TSH # 45-1                            Page 5 of 37

                                                JUWAN MOORE 1/9/2019

                                                         Page 17                                                        Page 19
  1   to go to school.                                              1         Q. You said a door?
  2     A. Yeah.                                                    2         A. Yeah.
  3     Q. And who was the correctional officer that                3         Q. And where did that door lead to?
  4   you were signing out with?                                    4         A. Going outside.
  5     A. Cooley.                                                  5         Q. Okay. And then when he grabbed you and
  6     Q. And when you were signing out, do you                    6   pushed you against the glass, what did you do?
  7   remember who all was standing there besides Officer           7         A. I was asking him what are you doing and he
  8   Cooley?                                                       8   turned around and cuff up and he finally got me in
  9     A. There was another officer, but I don't know              9   handcuffs.
 10   his name.                                                    10         Q. He told you to cuff up?
 11     Q. Do you remember the other inmates who were              11         A. Yeah. He told me to cuff up and right after
 12   there?                                                       12   he was telling me to cuff up he was still pushing at
 13     A. Yeah. They go by the name of Johnson,                   13   the same time.
 14   Jones, and Pousey (sp).                                      14         Q. Did you turn around and cuff up?
 15     Q. Pousky?                                                 15         A. I couldn't. He was still pushing me.
 16     A. Pousey.                                                 16         Q. Okay. Did you at all have any other
 17     Q. Do you know how to spell that?                          17   physical connection with Officer Cooley?
 18     A. No. It's a weird name.                                  18         A. I was just holding my hands out to stop him
 19     Q. Okay. And when you were signing out with                19   from pushing so I could turn around and cuff up,
 20   Officer Cooley, what happened?                               20   doing as he was told -- I was told.
 21     A. I had asked him -- at first I told him that             21         Q. Okay. When you held your hands out, did
 22   I need to talk to the counselor and he told me no,           22   those connect with Officer Cooley?
 23   and he was screaming and I was kind of like -- really        23         A. I mean they was touching his chest. That's
 24   not screaming -- about my business, and when I told          24   it.


                                                         Page 18                                                        Page 20
  1   him that, he told me get an ID. I told him I'll just          1         Q. How tall are you?
  2   go outside and he grabbed me.                                 2     A. About 5, 8.
  3     Q. When you say he grabbed you, where did he                3         Q. How tall is Officer Cooley?
  4   grab you?                                                     4     A. I don't know.
  5     A. He grabbed me by my left arm.                            5         Q. Is he taller or shorter than you?
  6     Q. When you said you were going to go outside,              6     A. He's about -- not -- he's about the same
  7   did you move towards the door to go outside?                  7   height. Like about an inch shorter than me.
  8     A. I walking out the door and he grabbed me.                8         Q. And when you had your hands out, were they
  9     Q. Were you in any way restrained at that time?             9   straight out?
 10   Did you have any sort of handcuffs or anything on?           10     A. No. They was like tilted down 4 o'clock,
 11     A. After that?                                             11   like down.
 12     Q. No. At that time when Officer Cooley                    12         Q. Okay. And you said you did connect your
 13   grabbed you.                                                 13   hands with Officer Cooley.
 14     A. No.                                                     14     A. Yeah.
 15     Q. And when he grabbed your left arm, what did             15         Q. So you said other people came running out?
 16   you do?                                                      16     A. Yeah. There was officers coming from
 17     A. I yanked away. I asked him what are you                 17   outside. Officers that were coming off another wing.
 18   doing.                                                       18   They was coming from everywhere.
 19     Q. And then what did Officer Cooley do?                    19         Q. Do you recall how many officers came out?
 20     A. After I yanked away, he started -- he was               20     A. Altogether there was eight.
 21   just -- like his arm was pushing me against the              21         Q. Does that include Officer Cooley?
 22   glass.                                                       22     A. Yes.
 23     Q. What type of glass is that?                             23         Q. Okay. And then what did those eight
 24     A. Like a door glass.                                      24   officers do?



                                                                                                        5 (Pages 17 to 20)
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                    3:18-cv-03142-SEM-TSH # 45-1                      Page 6 of 37

                                            JUWAN MOORE 1/9/2019

                                                    Page 21                                                     Page 23
  1     A. I was in handcuffs then, right then.                1      Q. And where was Cooley at that time?
  2     Q. Who put you in handcuffs?                           2     A. He was in front of me.
  3     A. I don't know who put me in handcuffs. After         3      Q. And was he still touching you?
  4   I turned around, the handcuffs was on.                   4     A. Yeah. He was still pushing me.
  5     Q. And were you still standing up at this time?        5      Q. What part of his body was he touching you
  6     A. Yes. At this time I was between two doors           6   with?
  7   going in and out of the housing unit. It's a double      7     A. His hands.
  8   door.                                                    8      Q. And what part of your body was he touching?
  9     Q. So there's that door that you originally            9     A. He was touching like my upper body. He
 10   were going to walk out of and then there's like an      10   grabbed my arm with the other hand and started --
 11   area and then another door?                             11      Q. Was he holding both of your arms?
 12     A. Yes.                                               12     A. No. He was just holding one of my arms.
 13     Q. Okay. Do you recall how you got from -- got        13      Q. And which arm was that?
 14   into that little type of vestibule area?                14     A. He was holding my right arm.
 15     A. Yeah. As he was pushing me, the door came          15      Q. Okay. So he started holding your left arm
 16   open.                                                   16   and then he was holding your right arm?
 17     Q. Is that door normally locked or is that door       17     A. No. As I was walking out, he grabbed my
 18   normally open?                                          18   left arm and when I yanked away, I was facing towards
 19     A. That door open.                                    19   him. He grabbed my right arm. He was pushing me
 20     Q. Were you standing up this entire time?             20   with his left.
 21     A. Yeah, at this time I'm standing up.                21      Q. Okay. When he was -- he had his left arm
 22     Q. Okay. And do you remember which officers           22   and he was pushing your right arm?
 23   were actually touching you?                             23     A. No. He was holding my left and my right
 24     A. When they all came in, there was the               24   arm. He was pushing with his left.


                                                    Page 22                                                     Page 24
  1   majority of them touching me after I was in              1      Q. So his left arm was pushing your right arm?
  2   handcuffs.                                               2     A. He was holding my right arm.
  3     Q. After you were in handcuffs?                        3      Q. With his left arm?
  4     A. Yeah. They got me in handcuffs and Cooley           4     A. With his right arm and he was pushing me
  5   started banging my head against the wall and I           5   with his left arm.
  6   finally got slammed to the ground.                       6      Q. Okay. And when he was pushing you, which
  7     Q. Were you saying anything at that time?              7   direction was he pushing you in?
  8     A. I was telling them to stop.                         8     A. Towards the door.
  9     Q. Did you still have your hands out?                  9      Q. Towards the door. Was he pushing you to
 10     A. No. I was in handcuffs at this time.               10   face towards the door?
 11     Q. The entire time?                                   11     A. He was trying to -- as he was pushing me, he
 12     A. As I was putting my hands against the wall I       12   tried to turn me around and cuff me up.
 13   was in handcuffs.                                       13      Q. Okay. So did you then go in the direction
 14     Q. Let's kind of backtrack. So you said that          14   that he was pushing you?
 15   as you were walking out, Cooley grabbed your left       15     A. I didn't have no choice. He was pushing me.
 16   arm.                                                    16   I was walking backwards. I was walking backwards.
 17     A. Right.                                             17      Q. So if you're going backwards, wouldn't you
 18     Q. And then what did he do?                           18   be -- were you moving towards him?
 19     A. He told me turn around and cuff up, which I        19     A. No. I was going the opposite way, falling
 20   told him I can't. What are you doing? I said I          20   backwards going out the door.
 21   can't because you're still pushing me.                  21      Q. So was he pushing you towards the door?
 22     Q. So he was pushing you. Where was your --           22     A. Yeah, he was pushing me towards the door and
 23   where was your back?                                    23   I was going like out the door, like between the
 24     A. My back was against the door.                      24   double doors.



                                                                                                 6 (Pages 21 to 24)
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                     3:18-cv-03142-SEM-TSH # 45-1                       Page 7 of 37

                                              JUWAN MOORE 1/9/2019

                                                       Page 25                                                           Page 27
  1     Q. Okay. And is this a swinging door?                     1     A. Yes.
  2     A. It's like a door that -- unlocked. It was              2     Q. And who was there in that little small area?
  3   open.                                                       3   Is this a small area or a big area?
  4     Q. The door was open?                                     4     A. It's a small area, but all of the officers
  5     A. Not open, but unlocked.                                5   are in there.
  6     Q. It was unlocked. Does this door have a                 6     Q. How many officers were in there?
  7   doorknob?                                                   7     A. It was all of them, all eight.
  8     A. No, not that I know of.                                8     Q. All eight of those officers were in the
  9     Q. So you can just push the door open?                    9   small area with you?
 10     A. I guess so.                                           10     A. Yes.
 11     Q. Does it have a knob that you have to turn or          11     Q. Once you were cuffed up?
 12   can you just push the door?                                12     A. Yes.
 13     A. Push the door open.                                   13     Q. When you say eight officers, is the
 14     Q. So as you're -- as Officer Cooley's trying            14   counselor included in the eight?
 15   to cuff -- have you cuff up, you go through the door.      15     A. Yeah. He was in there, so there was nine.
 16     A. I go through the door. Him and the                    16     Q. Okay. And you said you were put to the
 17   counselor -- that's the time the counselor came out        17   ground. Were you still in handcuffs?
 18   and was helping him.                                       18     A. Yes.
 19     Q. And who was the counselor?                            19     Q. Did they at all try to restrain your feet?
 20     A. I don't know his name.                                20     A. No.
 21     Q. Did he touch you?                                     21     Q. Did you lay on the ground once you were on
 22     A. Yeah, he was helping Cooley too.                      22   the ground?
 23     Q. Did he touch you?                                     23     A. Once I got slammed to the ground, I was
 24     A. Yeah, he was, yeah.                                   24   laying on the ground and they just started kicking


                                                       Page 26                                                           Page 28
  1     Q. And how did he touch you?                              1   me.
  2     A. He was trying to turn me around.                       2     Q. Who started kicking you?
  3     Q. So now you have two people trying to turn              3     A. It was the majority of them. I don't know
  4   you around.                                                 4   their names.
  5     A. Right.                                                 5     Q. And you were still in the vestibule area?
  6     Q. And they're trying to get you to cuff up.              6     A. Yes.
  7     A. Right.                                                 7     Q. About how big is this vestibule area?
  8     Q. So about how long did it take for them to              8     A. It's a decent size.
  9   get you to cuff up?                                         9     Q. And what do you describe as a decent size?
 10     A. Not that long. They time they start pushing           10   Like how many feet wide is it?
 11   me, that's when I turned around and I cuffed up.           11     A. It's about -- I would say about -- it's the
 12     Q. Okay. And then you said other people came             12   size of a cell. I can't really give you exact
 13   in?                                                        13   measurements.
 14     A. Yes.                                                  14     Q. Okay. That helps though.
 15     Q. So what happened once you were cuffed up?             15         So were you able to see who kicked you?
 16     A. Cooley started banging my head against the            16     A. No. My face was towards the ground.
 17   wall and I tried to turn back around and that's when       17     Q. Do you remember how many times you were
 18   he slammed me on the ground.                               18   kicked?
 19     Q. How many times do you think your head hit             19     A. No.
 20   the wall?                                                  20     Q. Can you estimate?
 21     A. Twice.                                                21     A. About 15 times.
 22     Q. Was this in the vestibule area?                       22     Q. And where on your body were you kicked?
 23     A. You say who?                                          23     A. I was kicked all over, every part except for
 24     Q. Was this in the area between the two doors?           24   my head. They was kicking all over.



                                                                                                     7 (Pages 25 to 28)
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                      3:18-cv-03142-SEM-TSH # 45-1                        Page 8 of 37

                                                JUWAN MOORE 1/9/2019

                                                        Page 29                                                        Page 31
  1     Q. And this entire thing took place in the                 1   his hair was?
  2   vestibule?                                                   2      A. No.
  3     A. Yes.                                                    3      Q. Was it dark?
  4     Q. And then after you said they kicked you                 4      A. I can't remember his haircut. I mean he had
  5   about 15 times, what made them stop?                         5   a haircut.
  6     A. Lieutenant Campbell -- I mean -- yeah,                  6      Q. He had a haircut?
  7   Campbell -- told them to pick get me up and walk me          7      A. Yeah.
  8   to seg.                                                      8      Q. Was it a -- can you describe the haircut?
  9     Q. Was Lieutenant Campbell a part of the nine              9      A. Just a regular haircut.
 10   people in the vestibule?                                    10      Q. Was it long or short?
 11     A. Yes.                                                   11      A. Short.
 12     Q. Do you believe Lieutenant Campbell kicked              12      Q. Short. Was it very close to his head?
 13   you?                                                        13      A. Yes.
 14     A. Yeah, I believe -- yeah. I believe all of              14      Q. Do you remember what color his eyes were?
 15   them kicked me, to my knowledge.                            15      A. No.
 16     Q. So you believe he kicked you.                          16      Q. When you say tall, how tall do you think he
 17     A. Yes. At this time all -- I can't say if he             17   was?
 18   did or not, but he kicked me when we was walking to         18      A. Taller than me. So anything taller than me.
 19   segregation.                                                19      Q. Was he a few inches taller than you or was
 20     Q. So Lieutenant Campbell you said told them to           20   he abnormally tall?
 21   get you up and take you to seg?                             21      A. Probably a few inches taller than me.
 22     A. Right.                                                 22      Q. Was he over 6-foot?
 23     Q. And they immediately stopped.                          23      A. No. About 6-foot.
 24     A. They stopped and they grabbed me up.                   24      Q. Okay. And he was holding your right side?


                                                        Page 30                                                        Page 32
  1     Q. Do you remember who grabbed you up?                    1      A. Yes.
  2     A. No.                                                    2      Q. Where was he holding you on your right side?
  3     Q. Do you remember who -- did they then start             3      A. On my wrists and my elbow. Between that
  4   taking you to seg or what did they do?                      4    area.
  5     A. Yeah. They started taking me outside. They             5      Q. Do you remember anything about the person on
  6   walked me to the last door going outside.                   6    your left side?
  7     Q. Who walked you outside?                                7      A. No. I was facing down. My head was down
  8     A. I can't remember their names right off the             8    toward the ground.
  9   top.                                                        9      Q. You were -- I'm sorry. What?
 10     Q. How many of them were there?                           10     A. The position I was in, they had my hands
 11     A. There was one on each side.                            11   tied over my head. I couldn't see nothing. My face
 12     Q. So two?                                                12   was facing down. All I could see was my right side.
 13     A. Yes.                                                   13     Q. Okay. How long is the walk from that door
 14     Q. Do you remember what they looked like?                 14   when you're leaving your gallery to segregation?
 15     A. I just know one of them was tall.                      15     A. It's on the other side of the prison.
 16     Q. Okay. Was the one who was tall on your                 16     Q. So is it a pretty long walk?
 17   right or your left?                                         17     A. Yes.
 18     A. My right side.                                         18     Q. About how long did it take you to make that
 19     Q. And do you remember anything about what he             19   walk?
 20   looked like?                                                20     A. During this incident?
 21     A. No.                                                    21     Q. Yes.
 22     Q. Was he black? Was he white? Asian?                     22     A. About I would say to like five to seven
 23     A. He was white.                                          23   minutes. I kept falling.
 24     Q. He was white? Do you remember what color               24     Q. Is it usually a shorter walk?



                                                                                                       8 (Pages 29 to 32)
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                        3:18-cv-03142-SEM-TSH # 45-1                      Page 9 of 37

                                                     JUWAN MOORE 1/9/2019

                                                        Page 33                                                           Page 35
  1     A. Yeah.                                                   1   They told me I have to stay face down.
  2      Q. So in five to seven minutes you never got a            2      Q. Okay. So did you adjust yourself to try and
  3   look at the person on your right side?                       3   prevent yourself from falling?
  4     A. I just -- the position I was in I can't                 4     A. Yes, plenty of times, but it don't work.
  5   really see. I saw the person on my right side.               5      Q. How did you adjust yourself to prevent
  6   That's it.                                                   6   yourself from falling?
  7      Q. Okay. Do you remember if the person on your            7     A. I tried to keep my balance. That's it.
  8   left side was taller or shorter than you?                    8      Q. How?
  9     A. No. I don't remember who was on my left                 9     A. Just like trying to come up a little bit so
 10   side.                                                       10   I won't fall.
 11      Q. Do you remember if they were -- were they a           11      Q. So you tried to come up a little bit.
 12   male?                                                       12     A. Yeah.
 13     A. Yeah. It was a male.                                   13      Q. So when you say that, you mean like
 14      Q. Do you remember their ethnicity?                      14   straighten your back?
 15     A. No.                                                    15     A. Or like -- yes. Get me like a good position
 16      Q. You don't remember if they were black or              16   I could walk and stay down at the same time.
 17   white?                                                      17      Q. So you just tried to straighten your back?
 18     A. I mean they're always white.                           18     A. Yes.
 19      Q. Do you remember at all what color his hair            19      Q. Did that work?
 20   might have been?                                            20     A. No, because they kept on pushing me back
 21     A. No, ma'am. Some of them had on hats. Some              21   down.
 22   of them didn't.                                             22      Q. Did you make any other adjustments to try
 23      Q. Did this person have on a hat?                        23   and make sure you could stand up -- or to make sure
 24     A. I don't remember.                                      24   that you wouldn't fall down?


                                                        Page 34                                                           Page 36
  1      Q. Okay. So then when you were walking to the             1      A. No.
  2   segregation, you said you kept falling?                      2       Q. Did you fall down?
  3      A. Yeah. I told the person on my right side --            3      A. Yes.
  4   because he had my hands above my head, I told him I          4       Q. About how many times did you fall down?
  5   might fall. He told me if I fall, he's going to              5      A. About two to three times through the whole
  6   break my face.                                               6   thing.
  7      Q. And why did you feel like you were going to            7       Q. And that's throughout the course of the
  8   fall?                                                        8   walk?
  9      A. In the position I was in, they had my hands            9      A. Yeah, throughout the walk.
 10   above my head. My face was facing down.                     10       Q. And where in the walk did you fall down?
 11      Q. And they had your hands above your head               11      A. After you come out the double doors, you go
 12   behind you?                                                 12   out the gate. When you go out the gate, you make a
 13      A. Yes.                                                  13   right. When you make a right, and walk towards that
 14      Q. Have you ever had to walk like that before?           14   way.
 15      A. No. It was my first time walking like that.           15       Q. And was this inside or outside?
 16      Q. Okay. And where was the person on your left           16      A. It was outside.
 17   side touching you?                                          17       Q. And what's the walkway like?
 18      A. They both had my hands like between my wrist          18      A. There's like a long gate and there's the gym
 19   and my elbow. They was holding my hands up.                 19   room on the left-hand side.
 20      Q. And as you were walking, you said you felt            20       Q. What type of material were you walking on?
 21   like you were going to fall.                                21      A. Concrete.
 22      A. Yes.                                                  22       Q. When you fell, what type of material were
 23      Q. So did you at all try and stand up straight?          23   you on?
 24      A. No. I mean, you can't stand up straight.              24      A. Concrete.



                                                                                                      9 (Pages 33 to 36)
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                     3:18-cv-03142-SEM-TSH # 45-1                     Page 10 of 37

                                              JUWAN MOORE 1/9/2019

                                                      Page 37                                                      Page 39
  1      Q. Each time you fell you were on concrete?             1     A. Yes.
  2      A. Yes.                                                 2     Q. And how many of them were touching you?
  3      Q. Okay. Did the officers help you up?                  3     A. Four altogether.
  4      A. Man, the first time they helped me up. The           4     Q. There were four or there were eight?
  5   second time they picked me up. It was both officers.       5     A. At this time there was four because they was
  6   One had my left hand and one had my right hand. They       6   picking me up.
  7   was holding me up.                                         7     Q. When you left the vestibule area, how many
  8      Q. So there were four officers total?                   8   officers were with you?
  9      A. At the second time, yeah, the second time I          9     A. There was eight.
 10   fell.                                                     10     Q. And all eight of those officers walked with
 11      Q. Where did these other two officers come             11   you from the vestibule area to the segregation unit.
 12   from?                                                     12     A. Yes.
 13      A. They was all walking along.                         13     Q. Which of the officers can you name?
 14      Q. So did the four officers go with you from           14     A. I can't name them. I can't name -- I can't
 15   the vestibule to the segregation?                         15   really see them. There were on my right side.
 16      A. Yes, ma'am.                                         16     Q. You could only see the one officer on your
 17      Q. And there were four officers with you the           17   right side of all eight of the people walking with
 18   entire time?                                              18   you.
 19      A. Altogether?                                         19     A. Right.
 20      Q. Yes.                                                20     Q. And how many of them were touching you?
 21      A. There was eight of them.                            21     A. There was two. When I fell the second time,
 22      Q. No. I mean from walking. From walking from          22   there were four touching me.
 23   the vestibule to the segregation there were four          23     Q. And where were they touching you?
 24   officers.                                                 24     A. My ankles and my hands. They were picking


                                                      Page 38                                                     Page 40
  1      A. After I fell there were four officers. Then          1   me up carrying me.
  2   they put me back down.                                     2     Q. So the person who had your right hand, do
  3      Q. So you don't remember if there were four             3   you know who that was?
  4   officers who left the vestibule area with you?             4     A. No. I don't know his name.
  5      A. There was four officers that was in the              5     Q. Was he the same person or different from the
  6   vestibule and was carrying me.                             6   person who had your right arm when you left the
  7      Q. So did you walk to segregation or were you           7   vestibule area?
  8   carried to segregation?                                    8     A. He's -- when I walked out the door he was
  9      A. I was walked and I was carried.                      9   the same one.
 10      Q. So when you left the vestibule, who was with        10     Q. So he was the tall one.
 11   you?                                                      11     A. Yes.
 12      A. It was six officers. There was five                 12     Q. Who had your right leg?
 13   officers and a lieutenant and there was two officers      13     A. I don't know.
 14   that was holding me. So that was eight, total eight.      14     Q. Do you remember anything about the person
 15      Q. Wait. You said there were five officers?            15   who was holding your right leg?
 16      A. Plus the lieutenant.                                16     A. No. I can't see.
 17      Q. Plus the lieutenant.                                17     Q. You couldn't see. Okay. And who had your
 18      A. That makes six plus the two officers that           18   left arm?
 19   was carrying me -- holding me make eight. So              19     A. I couldn't see that either.
 20   altogether, seven officers and one lieutenant.            20     Q. Was that the same person or a different
 21      Q. And those officers, did they all walk with          21   person from before?
 22   you from the vestibule area to segregation?               22     A. I couldn't tell you because I didn't see the
 23      A. Yes.                                                23   first person.
 24      Q. All eight of them?                                  24     Q. Who had your left leg?



                                                                                                 10 (Pages 37 to 40)
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                      3:18-cv-03142-SEM-TSH # 45-1                    Page 11 of 37

                                              JUWAN MOORE 1/9/2019

                                                     Page 41                                                        Page 43
  1     A. I don't know.                                        1   off and they -- the officer -- I don't know his name.
  2      Q. How were they holding you?                          2   My pants was like -- they was off and he tried to
  3     A. They was holding me like you carry a casket.         3   step on my pants and make me fall again.
  4   They was holding me like that.                            4      Q. Do you remember who that was?
  5      Q. Can you describe how they were holding your         5      A. No.
  6   right arm?                                                6      Q. What type of pants did you have on?
  7     A. Like their arm was through my arm.                   7      A. I had on blue pants.
  8      Q. Was that on both sides?                             8      Q. Are they drawstring pants?
  9     A. Yes.                                                 9      A. Yes. You might as well say, yeah.
 10      Q. And how were they holding your legs?               10      Q. Okay. And did you tell the officers that
 11     A. By my ankles.                                       11   your pants were falling down?
 12      Q. Okay. And so you said you fell one time and        12      A. Obviously they knew my pants were falling
 13   then they helped you up.                                 13   down.
 14     A. Right.                                              14      Q. But did you tell the officers that your
 15      Q. And did they just keep walking with you at         15   pants were falling down?
 16   that time?                                               16      A. Yes.
 17     A. They kept walking me. Whenever they started         17      Q. And what did they say to that?
 18   kicking me, they was kicking me like on the low side.    18      A. They just ignored me.
 19      Q. What does that mean?                               19      Q. Okay. This officer who messed with your
 20     A. Like man, (unintelligible).                         20   pants, what did this officer look like?
 21      Q. Were you tripping?                                 21      A. I don't know how he looked. I couldn't turn
 22     A. I was on the ground. I was on the ground.           22   around. My head was faced towards the ground.
 23      Q. I asked what happened after you stood up           23      Q. Okay. So were they behind you or in front
 24   after the first fall.                                    24   of you?


                                                     Page 42                                                        Page 44
  1      A. When I stood up, they put me back down in           1     A. They were behind me.
  2   that position and we started walking again.               2     Q. And you said your face was pointed down.
  3      Q. Okay. And then what happened?                       3     A. Yes.
  4      A. As we was walking again, I fell again.              4     Q. Did you look behind you to see who it was?
  5      Q. About how far was -- about how far from the         5     A. Well, I tried to. I got glasses, but I
  6   first fall did you walk before you fell the second        6   can't really see him though. I just know he was
  7   time?                                                     7   short at first. He was short.
  8      A. About like 13 feet.                                 8     Q. So the officer who touched your pants was
  9      Q. And what happened after this second fall?           9   short.
 10      A. That's when they picked me up. The four            10     A. Yeah. That's the only thing I know about.
 11   officers picked me up.                                   11     Q. Do you remember what color hair they had?
 12      Q. Did they carry you the rest of the way to          12     A. No.
 13   the segregation unit?                                    13     Q. Was it dark?
 14      A. No. I told them I would walk.                      14     A. What? Outside?
 15      Q. Did you get down and walk?                         15     Q. No. Was the officer's hair dark or light?
 16      A. Yeah. They put me down after a few steps           16     A. I don't know. I didn't see his hair.
 17   they made and then they put me back in that position     17     Q. Okay. And had you ever seen him before?
 18   again and I started walking.                             18     A. No.
 19      Q. Were you able to make it to the segregation        19     Q. Okay. Where on your pants did he touch you?
 20   unit?                                                    20     A. As my pants were dragging, he stepped on it.
 21      A. Yes.                                               21   He stepped on it, but I caught myself.
 22      Q. Did you have any problems between that             22     Q. You caught yourself how?
 23   second fall and getting to the segregation unit?         23     A. I was falling, but I hurried up and I caught
 24      A. Yeah. At this time, my clothes was coming          24   my balance.



                                                                                                     11 (Pages 41 to 44)
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                     3:18-cv-03142-SEM-TSH # 45-1                    Page 12 of 37

                                                 JUWAN MOORE 1/9/2019

                                                    Page 45                                                           Page 47
  1      Q. Okay. And did you -- when you caught              1    Like one foot in front of the other?
  2   yourself, did you touch the ground at all?              2      A. Yeah. He was still -- he tried to step on
  3     A. No.                                                3    my pants leg.
  4      Q. So was it more of a trip?                         4      Q. So do you know if he was stepping on your
  5     A. Yeah, it was like a trip.                          5    pants leg on purpose or could it have been an
  6      Q. Okay. Did the officer continue to touch           6    accident?
  7   your pants?                                             7      A. It probably could have been an accident.
  8     A. No. He only did it once.                           8      Q. Okay. And once you got to segregation, who
  9      Q. Okay. Could he have been trying to pull up        9    was -- is there somebody at segregation or how does
 10   your pants?                                             10   that work?
 11     A. No, ma'am.                                         11     A. It's a double door. Segregation is
 12      Q. Where exactly on your legs were the top of        12   connected to the IDC and when you first come in it's
 13   your pants?                                             13   connected to that.
 14     A. By my ankles, like. Only one of my legs was        14     Q. Okay.
 15   inside my pants.                                        15     A. First come in there's another double door.
 16      Q. Only one of your legs was inside your pants?      16   As you're walking through the double. That's where I
 17     A. Yeah.                                              17   got tossed to the glass which I hit my right eye on
 18      Q. So was the other pant leg dragging or where       18   that bust it open and I fell back to the ground.
 19   was it?                                                 19     Q. Who -- do you remember who was touching you
 20     A. It was dragging.                                   20   when that happened?
 21      Q. Okay. And was that the whole time that you        21     A. When I fell to the ground?
 22   were walking?                                           22     Q. Yes.
 23     A. No. It was like right before you go in like        23     A. Man, at this point in time I could see. It
 24   segregation.                                            24   was everybody. They was taking turns kicking me.



                                                    Page 46                                                           Page 48
  1      Q. So are you saying as you were walking your         1      Q. Who is everybody?
  2   pants fell down?                                         2      A. All eight officers.
  3     A. They was falling down. They finally fell            3      Q. Do you remember what any of the officers
  4   down and the second time, that's when my pants came      4   looked like?
  5   off.                                                     5      A. They was all white.
  6      Q. When did you -- on the walk, did your pants        6      Q. I'm sorry. What?
  7   start falling down?                                      7      A. I don't know their hair color. I just know
  8     A. Right before I fell the first time.                 8   they was all white.
  9      Q. Where on your pants did the officer who            9      Q. They were all white?
 10   touched them touch your pants?                          10      A. Yes.
 11     A. At the end of my pants leg.                        11      Q. And there were eight of them?
 12      Q. Did he try and pull those pants legs?             12      A. There were eight of them. The only person I
 13     A. No. He was stepping on them. He tried to           13   know is Campbell.
 14   make me fall again.                                     14      Q. And that's the lieutenant?
 15      Q. He was stepping on them?                          15      A. Yeah, that's the lieutenant.
 16     A. Yes.                                               16      Q. What exactly did Lieutenant Campbell do?
 17      Q. But you didn't see him.                           17      A. He started kicking me.
 18     A. When I was glancing back, you could see his        18      Q. Where did he kick you?
 19   foot stepping on my --                                  19      A. Like in my lower leg.
 20      Q. Stepping on your pants.                           20      Q. Which leg?
 21     A. Yeah.                                              21      A. My left leg.
 22      Q. But you didn't see him?                           22      Q. Okay. So Campbell -- were you on your back
 23     A. I didn't see his face.                             23   or your stomach?
 24      Q. Okay. So was he just walking normally?            24      A. I was on my stomach and my head was turned



                                                                                                  12 (Pages 45 to 48)
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                        3:18-cv-03142-SEM-TSH # 45-1                       Page 13 of 37

                                                   JUWAN MOORE 1/9/2019

                                                           Page 49                                                          Page 51
  1   clockwise which I could see.                                    1      Q. He was white. You don't remember what his
  2         Q. So you were on your stomach, but your head             2   hair looked like?
  3   was turned to the left?                                         3     A. No.
  4         A. I was on my stomach and on my side at the              4      Q. Eye color?
  5   same time. Like I was between both of them, but I               5     A. No.
  6   could see. My body was turned. I could see.                     6      Q. Was he heavy or skinny?
  7         Q. What side of your body could you see to?               7     A. He was average size.
  8         A. I could see on my left side.                           8      Q. Average size? What would you think is
  9         Q. Okay. So you were kind of -- so you were               9   average size?
 10   turned to the left?                                            10     A. I would say about like 150.
 11         A. Yes.                                                  11      Q. 150? Okay. And would you say he was older
 12         Q. And you said you could see Lieutenant                 12   or younger?
 13   Campbell kicking your left leg.                                13     A. I ain't really get a good look at his face
 14         A. Yes.                                                  14   like that.
 15         Q. Who else was on your left side?                       15      Q. But you could see at the time.
 16         A. Man, my left side was toward the door and             16     A. I would say he's probably young.
 17   that's where everybody come in and as they was coming          17      Q. What do you think is young?
 18   in, they was kicking me.                                       18     A. Probably his late 20s.
 19         Q. So like they were walking by and kicking              19      Q. And do you remember which of his feet he
 20   you?                                                           20   kicked you with?
 21         A. They was kicking me. After they was done              21     A. No.
 22   kicking me, they came to my right side because they            22      Q. How did he kick you?
 23   was filling in the space as the other one was coming           23     A. He lift his leg up and just kicked me.
 24   in.                                                            24      Q. Like did he lift his leg up or lift his leg


                                                           Page 50                                                          Page 52
  1         Q. So officers were just walking in, kick you,            1   back?
  2   and then walk around to your other side?                        2      A. He lift it up.
  3         A. Yeah. They started kicking me again.                   3      Q. So -- I'm sorry. What?
  4         Q. Okay. And how many times were you kicked?              4      A. He tried to stub me.
  5         A. At this time I was kicked like -- I can't              5      Q. And where did his foot connect with?
  6   give you what the exact number. Or estimate it?                 6      A. My face.
  7         Q. Let's estimate.                                        7      Q. Where on your face?
  8         A. Man, about another -- I'd say about 16 times           8      A. My left side. Like my jaw.
  9   before they kicked me in my face.                               9      Q. Okay. And then what happened?
 10         Q. Who kicked you in your face?                          10      A. After that, they was kicking me and they
 11         A. I don't know. I can't recall his name.                11   finally stopped. I don't know what made them stop,
 12         Q. Weren't you -- you said you were looking at           12   but they finally stopped.
 13   that time?                                                     13      Q. Did you hear anybody?
 14         A. I was looking. At first they kicked me in             14      A. No, not that I remember. I can't remember.
 15   my face. You know, my face -- I just put my face               15      Q. And this was all taking place in between the
 16   toward the ground. He started kicking me in my face            16   double doors?
 17   again.                                                         17      A. Yes.
 18         Q. Okay. Who was the officer that kicked you             18      Q. How big is that area between the double
 19   in the face?                                                   19   doors?
 20         A. I don't know.                                         20      A. The same -- same measurements as the last
 21         Q. What did they look like?                              21   one.
 22         A. I would say my height.                                22      Q. So about the size of a cell?
 23         Q. So about 5, 8?                                        23      A. Yeah.
 24         A. Yeah. That's all I know, and he was white.            24      Q. And you said there were how many people



                                                                                                        13 (Pages 49 to 52)
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                     3:18-cv-03142-SEM-TSH # 45-1                         Page 14 of 37

                                                 JUWAN MOORE 1/9/2019

                                                         Page 53                                                         Page 55
  1   total?                                                        1   gloves?
  2     A. There was eight.                                         2     A. Like motorcycle gloves, I want to believe.
  3     Q. Okay. And then when they just randomly                   3   That's how I got the cut on my face.
  4   stopped, what happened?                                       4      Q. And throughout this whole thing, how many
  5     A. They got me up. They walked me through the               5   people hit you?
  6   door again. Now, this door you got to walk through.           6     A. They all took turns, eight of them.
  7   You got to get buzzed in. It's like a slide door.             7      Q. So they each took a turn to punch you with
  8   You got to get buzzed in.                                     8   these gloves?
  9     Q. So you're buzzed in?                                     9     A. Yeah. Yes.
 10     A. They buzzed in. They threw me to the ground             10      Q. And so was there one person punching you at
 11   when we walked through the double doors, the sliding         11   a time?
 12   door. After they threw me to the ground, they all            12     A. Yeah. Like one guy was holding me up --
 13   started kicking me again and they all took turns             13   holding my face up, the other one's punching me.
 14   punching me with like a glove they had on.                   14   They took turns rotating.
 15        They're like knuckles. It's like a knuckle              15      Q. Okay. And how was your hair at that time?
 16   glove. They all took turns hitting just me with the          16   Was it about the same length it is now?
 17   glove 'til I finally went to sleep.                          17     A. No. I have a picture. It's like a 'fro.
 18     Q. They were wearing gloves?                               18      Q. So was it a little shorter than it is now?
 19     A. Yeah. It's like a special glove, like.                  19     A. Yeah.
 20   They got like knuckle parts. It's like -- it's hard.         20      Q. Okay. And then you said there are the
 21     Q. All of them?                                            21   double doors. Let's go back to them. And you have
 22     A. They all took turns.                                    22   to be buzzed into the part of segregation. Correct?
 23     Q. They all took turns with one pair of gloves?            23     A. The prior door you get buzzed. It's like a
 24     A. A pair of gloves.                                       24   slide-in door.


                                                         Page 54                                                         Page 56
  1     Q. So there was one pair of gloves and they                 1      Q. So there are three doors?
  2   passed them amongst all eight people.                         2     A. You pass the double door. You walk three
  3     A. While one of them was holding my head, the               3   steps. Then there's going to be a slide-in door.
  4   other ones was taking turns punching me in my face            4   You either go straight there or you can make a left
  5   with the glove on. They all took turns doing it.              5   or you can make a right. You go straight.
  6     Q. Can you describe these gloves? They're                   6      Q. If you go straight in, that's segregation.
  7   leather you said.                                             7     A. Yeah. Going straight in, that's
  8     A. Yeah, they're gloves.                                    8   segregation.
  9     Q. What color were they?                                    9      Q. And you said you get buzzed in.
 10     A. Black.                                                  10     A. Yeah. It's like a slide-in door.
 11     Q. So they were black. They were leather. Do               11      Q. Okay. Is there a camera there?
 12   you remember anything else about the gloves?                 12     A. I mean there's cameras around, but I don't
 13     A. No. I know the knuckle part's hard.                     13   know where exactly they're located.
 14     Q. The knuckle part is hard?                               14      Q. Well, how does somebody see you so they can
 15     A. Yeah. It's like -- like plastic almost.                 15   buzz you in?
 16     Q. Okay. Are there fingers in these gloves?                16     A. No. It's like they can see you come through
 17     A. Yeah, there's fingers.                                  17   the door. You can see them. When you first come in,
 18     Q. Are they more like boxing gloves?                       18   right in front of you there's a slide-in door on the
 19     A. No. There's fingers in gloves.                          19   side a little bit. Then there's a tower. The tower
 20     Q. Okay. Do they look like any other type of               20   is right there.
 21   glove? Like, you know, how like they're -- you have          21      Q. Is there somebody always sitting there at
 22   like your gardening gloves. You have your gloves for         22   the tower to buzz you in?
 23   warmth. You have gloves, you know, for driving               23     A. Yeah.
 24   gloves. Do they look like any of those types of              24      Q. Was there somebody sitting there at the



                                                                                                      14 (Pages 53 to 56)
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                      3:18-cv-03142-SEM-TSH # 45-1                     Page 15 of 37

                                               JUWAN MOORE 1/9/2019

                                                      Page 57                                                           Page 59
  1   tower that day?                                            1   were punching you and then passing the glove?
  2     A. Yes. That's how we got buzzed in.                     2     A. It got to the last person. After he punched
  3     Q. Do you remember who was sitting at the tower          3   me, I went to sleep.
  4   that buzzed you in?                                        4     Q. Okay. So after all eight people punched
  5     A. No. I can't remember how tall he was. None            5   you, you then went to sleep.
  6   of that. I don't remember whether it was a he or a         6     A. Yes.
  7   she.                                                       7     Q. Do you remember about how many punches each
  8     Q. Okay. And do women sometimes work that                8   person got in?
  9   tower?                                                     9     A. A punch a piece.
 10     A. Yes, ma'am.                                          10     Q. So they would punch, pass the glove?
 11     Q. And from the tower can you see in the                11     A. Yes.
 12   vestibule area?                                           12     Q. And then you fell asleep after the last
 13     A. Yes.                                                 13   person.
 14     Q. So anybody who was sitting at that tower             14     A. Yes.
 15   would have been able to see what was going on in the      15     Q. And when did you wake up?
 16   vestibule area.                                           16     A. When I finally woke up, I was in the
 17     A. Yes.                                                 17   bullpen. That's where the nurses around.
 18     Q. So would they have been able to see if you           18     Q. Do you know how long -- how much time had
 19   were hit or kicked in that vestibule area?                19   passed from when you had passed out until you woke
 20     A. How it was like, yeah, they could see. They          20   up?
 21   could see.                                                21     A. No.
 22     Q. Okay. And once you get through the sliding           22     Q. Do you know what time it was when you woke
 23   door, can the people from the tower see you there?        23   up?
 24     A. Yeah. You just turn around you can see               24     A. No, I don't remember. I don't know exactly



                                                      Page 58                                                           Page 60
  1   them.                                                      1   what time it was.
  2      Q. Okay. Was there somebody in the tower while          2      Q. Okay. But you said the nurse was there
  3   you were getting punched?                                  3   when you woke up or she came in after you woke up?
  4     A. Yes.                                                  4      A. She came in after I woke up. When I just
  5      Q. Did anybody in the tower do anything?                5   woke up, she was walking in.
  6     A. They're all together.                                 6      Q. So do you remember walking into the bullpen?
  7      Q. What do you mean, they're all together?              7      A. No. I was dragged in, I believe.
  8     A. I mean they're all coworkers, so they're              8      Q. You believe you were dragged in there. What
  9   going to stick together. They ain't going to stop          9   leads you to believe that you were dragged in there?
 10   anything.                                                 10      A. Because I got scars all over my face and the
 11      Q. Did anybody in the tower come out to stop           11   last thing I remember, I was on the floor.
 12   what was going on?                                        12      Q. Okay. And where were your pants at this
 13     A. No.                                                  13   time?
 14      Q. Did anybody from the tower say anything?            14      A. My pants? I didn't have any pants on.
 15     A. Not that I know of. I didn't hear them.              15      Q. They were off totally?
 16      Q. But you are certain that there was somebody         16      A. Yeah, they was off totally.
 17   in the tower.                                             17      Q. When you woke up, where were your pants?
 18     A. Yes.                                                 18      A. My pants was gone. The only thing I woke up
 19      Q. Do you know how many people were in the             19   with was my boxers, one of my boots, and my tank top
 20   tower?                                                    20   was ripped off.
 21     A. One.                                                 21      Q. Okay. So let's go to the -- do you remember
 22      Q. One?                                                22   the packet that I was talking about?
 23     A. Yes.                                                 23      A. Yeah.
 24      Q. About how long did this go on where they            24      Q. Can you go to page -- it's Bates-stamp



                                                                                                    15 (Pages 57 to 60)
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                      3:18-cv-03142-SEM-TSH # 45-1                      Page 16 of 37

                                                   JUWAN MOORE 1/9/2019

                                                       Page 61                                                       Page 63
  1   00007. Okay? And it's an outpatient progress note           1   February 2nd, 2018 at 9:00 a.m.
  2   and the date and time says February 2nd, 2018.              2     A. Right. Correct.
  3      A. Yes.                                                  3      Q. Is this the note from the nurse from when
  4       Q. Was this the note from the nurse?                    4   you first woke up?
  5      A. Yes.                                                  5     A. Yes.
  6       Q. Okay. And this is a note from the nurse              6      Q. Okay. Okay. So did you talk to that nurse?
  7   right after you woke up?                                    7     A. Yes. She had asked me what happened.
  8      A. No. This is in Pontiac. This is in                    8      Q. I'm sorry?
  9   Pontiac.                                                    9     A. She was asking me what happened.
 10       Q. Okay. So where did this situation occur?            10      Q. And what did you tell her?
 11      A. When I saw the nurse, I was in Mt. Sterling          11     A. I told her the same story.
 12   still.                                                     12      Q. You told her that people punched you?
 13       Q. You were where?                                     13     A. Yes. I said they jumped on me.
 14      A. Mt. Sterling.                                        14      Q. Okay. And would you say that she took good
 15       Q. In Mt. Sterling.                                    15   notes from this conversation you had with her?
 16      A. Yes.                                                 16     A. About reading this paper?
 17       Q. Okay. So -- but it was on February 2nd?             17      Q. Yeah.
 18      A. Yes. I got an emergency transfer and got             18     A. Man, I thought she could have even put more.
 19   here.                                                      19      Q. But would you say that anything she wrote
 20       Q. So flip forward a page to page 6 -- or not          20   down was false or a lie?
 21   6. Flip forward two pages. Page 6 is blank. Flip           21     A. Where it say refuse medical care, I didn't
 22   to page 5.                                                 22   refuse. They ain't never asked me.
 23      A. It's Pontiac. Yeah, it will say Pontiac.             23      Q. No. I'm looking at page 3.
 24       Q. What does it say at the top left-hand               24     A. Oh. Page 3?


                                                       Page 62                                                       Page 64
  1   corner?                                                     1      Q. Yes.
  2      A. It says CWIC 2/2/18.                                  2     A. No.
  3      Q. So this is from February 2nd, 2018?                   3      Q. Okay. So nothing she said was a lie.
  4      A. Yes.                                                  4     A. No.
  5      Q. At Western?                                           5      Q. Okay. So she said that you -- it says you
  6      A. Yes.                                                  6   have -- in the size and depth of injury that there
  7      Q. And what time does it say?                            7   was a 2 centimeter in diameter injury to your right
  8      A. 10:20.                                                8   cheek.
  9      Q. Okay. So this is from the morning that you            9     A. Yes.
 10   say this happened?                                         10      Q. So what do you understand 2 centimeters to
 11      A. Yes.                                                 11   be? Like how big do you think that is?
 12      Q. Okay. Do you recall if you had any -- is             12     A. About -- man, like a circle. I can't really
 13   this from when the nurse spoke to you right after you      13   -- like this big.
 14   woke up?                                                   14      Q. So pretty -- would you think it's big or
 15      A. No. This -- when the nurse spoke to me, she          15   pretty small?
 16   just took my (unintelligible). When I got down there       16     A. Small? It's big. Big.
 17   I didn't see no nurse.                                     17      Q. You think 2 centimeters is pretty big?
 18      Q. Okay. So when is this 10:20 a.m. note from?          18     A. On your face, yeah.
 19      A. I want to believe -- I can't really tell             19      Q. Okay. She said it was to your right cheek.
 20   you. I think that's from Mt. Sterling.                     20     A. Yes.
 21      Q. Okay. Let's flip to page 00003. Do you see           21      Q. Is that accurate?
 22   that?                                                      22     A. Yes.
 23      A. Yes.                                                 23      Q. So you had about a 2-inch injury on your
 24      Q. Okay. Is this -- this date and time says             24   right cheek.



                                                                                                    16 (Pages 61 to 64)
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                       3:18-cv-03142-SEM-TSH # 45-1                     Page 17 of 37

                                                 JUWAN MOORE 1/9/2019

                                                        Page 65                                                       Page 67
  1         A. Yes.                                                1   that.
  2         Q. And then its says there was about a 1 inch          2     A. Man, lost a little blood.
  3    on your right eyelid.                                       3     Q. A little blood? So it was dripping down,
  4         A. Yeah.                                               4   you said?
  5         Q. Okay. And did she place anything on either          5     A. Yeah.
  6    of those cuts?                                              6     Q. Okay. And where was it dripping down from?
  7         A. She gave me three stitches to my right eye.         7     A. My eye.
  8         Q. Stitches? Is she allowed -- did she --              8     Q. Which eye?
  9         A. She used tape. Like tape.                           9     A. My right eye.
 10         Q. Okay. So tape.                                     10     Q. So the injury that she noted above your
 11         A. It's called stitches, tape, or something           11   right eyelid?
 12    like that. Something like that.                            12     A. Yes.
 13         Q. Would it be called Steri-Strip tape?               13     Q. So was the -- the injury on your right
 14         A. Yes.                                               14   cheek, was that bleeding at all?
 15         Q. Okay. She put three of those --                    15     A. It was red. It wasn't dripping.
 16         A. Yes.                                               16     Q. Okay. Were there any other injuries?
 17         Q. -- on the cut on your eye.                         17     A. Yeah. My lip was bust open. Both my eyes
 18         A. Yes.                                               18   was black. My cheek got another bruise on there. My
 19         Q. Okay. And she notes that there was                 19   chin had another bruise on there and blood on my
 20    swelling.                                                  20   right eye again on the other side. I had a bruise up
 21         A. Yes.                                               21   there and I had a knot on my forehead.
 22         Q. And it says SM space AMT. Right?                   22     Q. But none of this is on the sheet.
 23         A. Yes.                                               23     A. I actually got a picture of it.
 24         Q. Would you understand that to mean a small          24     Q. Okay. But none of those injuries are on


                                                        Page 66                                                       Page 68
  1   amount?                                                      1   your sheet. Correct?
  2     A. It was small amounts in different spots.                2     A. Except for the bruises to my jaw, the 2
  3     Q. I'm sorry. What?                                        3   centimeters, and my eye, the three stitches.
  4     A. There were small amounts of bruises in                  4     Q. So did you tell the nurse about any of the
  5   different spots on my face.                                  5   other injuries?
  6     Q. Okay. So she said that there's no bleeding.             6     A. I didn't know. I didn't have a mirror. My
  7   Was that correct?                                            7   face was like numb.
  8     A. Man, it's not all correct.                              8     Q. Okay. But did you complain of anything else
  9     Q. So there was bleeding?                                  9   besides what she wrote done?
 10     A. Yeah, there was bleeding. There was still              10     A. My right hand.
 11   red dripping a little bit because she had to clean it       11     Q. Your right hand?
 12   up.                                                         12     A. Like my hand. My wrist. It was aching.
 13     Q. Okay. So it was dripping a little bit?                 13     Q. Okay.
 14     A. Yeah.                                                  14     A. Small amount on my side and my leg.
 15     Q. What do you mean by a little bit?                      15     Q. What was the -- the right hand was aching.
 16     A. Like you could see the blood. Like the                 16   What was that aching from?
 17   blood was like coming down. She was wiping it before        17     A. Probably the handcuffs. By me having
 18   she put the stitches on.                                    18   handcuffs when they stuck them on my hand.
 19     Q. Okay. About how much blood do you think you            19     Q. And you said a knot on your right side?
 20   lost?                                                       20     A. My left side.
 21     A. I can't even give you the exact amount.                21     Q. On left side. And what was that from?
 22     Q. Do you think you lost --                               22     A. Probably from them kicking me so much.
 23     A. A lot or a little?                                     23     Q. And what else did you say you had?
 24     Q. A lot or a little. Yeah, let's go with                 24     A. My right leg was hurting.



                                                                                                     17 (Pages 65 to 68)
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                       3:18-cv-03142-SEM-TSH # 45-1                Page 18 of 37

                                             JUWAN MOORE 1/9/2019

                                                   Page 69                                                         Page 71
  1      Q. Where on your right leg?                          1   said that there is -- and this is marked at 10:20
  2     A. A little down from my knee, my knee.               2   a.m.
  3      Q. And what was that hurting from?                   3     A. Yes.
  4     A. From them kicking me.                              4     Q. So you -- did you see somebody at that time?
  5      Q. Okay. And let's go back to the injuries on        5     A. I believe I did.
  6   your face. Besides the right cheek and the right        6     Q. Would you say that this -- this health
  7   eyelid --                                               7   status transfer summary is accurate?
  8     A. Yeah.                                              8     A. Except for they say I refused. I hadn't
  9      Q. -- and the right side of the jaw you said?        9   refused anything.
 10     A. Yes.                                              10     Q. Okay. But they described your appearance.
 11      Q. What was the right side of the jaw hurting       11   Would you say that that is accurate?
 12   from?                                                  12     A. They do what?
 13     A. From them punching me with the glove on.          13     Q. Towards the bottom it has a description of
 14      Q. Okay. So what else did you have on your          14   your appearance. It says physical appearance slash
 15   face?                                                  15   behavior.
 16     A. I had two black eyes.                             16     A. Oh, yeah. Well, cut above the eye -- right
 17      Q. Two black eyes?                                  17   eye?
 18     A. Yes.                                              18     Q. Is that accurate?
 19      Q. Okay.                                            19     A. Yes.
 20     A. I had a knot on top of my head.                   20     Q. Okay. So that's at 10:20 a.m. Was that at
 21      Q. What side?                                       21   Western?
 22     A. Just a little knot.                               22     A. Where they document this?
 23      Q. What side of your head?                          23     Q. Yes.
 24     A. Oh, the side. It was between.                     24     A. I don't know. When I ordered my medical


                                                   Page 70                                                         Page 72
  1     Q. Like on the top of the middle of your head?        1   record I saw this. I don't really know about this.
  2     A. Yeah.                                              2     Q. You don't know when they talked to you?
  3     Q. What else?                                         3     A. Yeah, I know when they talked to me. They
  4     A. I had -- my chin was busted open. My lips          4   talked to me down there. A counselor, nurses did.
  5   were busted open.                                       5     Q. So on February 2nd, 2018, did you talk to
  6     Q. Were they bleeding?                                6   someone before you were transferred?
  7     A. I mean they were just red, like scarred up,        7     A. Yeah, I talked to a nurse.
  8   but my lip was bleeding.                                8     Q. Okay. And then at 4:45 on page Bates-stamp
  9     Q. Was it bleeding a little or a lot?                 9   00007, did you speak to a nurse once you got to
 10     A. A little.                                         10   Pontiac?
 11     Q. Did you tell the nurse?                           11     A. I spoke to somebody. I don't know if it was
 12     A. Man, she saw it bleeding. She wiped it.           12   a nurse or not.
 13     Q. Did she treat it in any way?                      13     Q. Did you talk to them about your medical
 14     A. No.                                               14   situation?
 15     Q. Did the nurse give you any type of pain           15     A. She asked me what happened. I told her I
 16   medication?                                            16   had got jumped.
 17     A. No.                                               17     Q. Okay. And would you say that this is an
 18     Q. Did she give you any like ice or anything?        18   accurate portrayal of your conversation with whoever
 19     A. No. She just cleaned my face, put the             19   you talked to once you got to Pontiac?
 20   stitches on there, and go on about her business.       20     A. No.
 21     Q. Okay. And then -- so you saw that nurse at        21     Q. What do you think is inaccurate?
 22   9:00 a.m. that day. Correct?                           22     A. Where this says refuse medical attention.
 23     A. Yes.                                              23   She asked was I okay and I told her no, I needed
 24     Q. And then we have -- we go to page 5 and you       24   medical attention.



                                                                                                18 (Pages 69 to 72)
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                     3:18-cv-03142-SEM-TSH # 45-1                    Page 19 of 37

                                              JUWAN MOORE 1/9/2019

                                                     Page 73                                                         Page 75
  1     Q. And what type of medical attention were you          1     Q. Okay. So you said that you had some
  2   seeking?                                                  2   injuries. Right?
  3     A. Man, everything. My body was aching.                 3     A. Yes.
  4     Q. Did you say that?                                    4     Q. Going through your injuries, did you ever
  5     A. Yeah. I told her that my body was aching.            5   seek any medical attention after February 2nd, 2018?
  6     Q. Did she give you anything?                           6     A. Yes, about my right hand.
  7     A. No. She told me I would be fine.                     7     Q. About your right hand?
  8     Q. Were you standing up at the time that you            8     A. Yes.
  9   were talking to her?                                      9     Q. Who did you ask about your right hand?
 10     A. Yes.                                                10     A. Nurse. I put in sick call.
 11     Q. Okay. Were you actively bleeding at the             11     Q. When?
 12   time you were talking to her?                            12     A. I don't know the exact date, but I know one
 13     A. No.                                                 13   of them was they saw me on 3/31/18 for my right hand.
 14     Q. Okay. Did she tell you how to get ahold of          14     Q. So March 31st.
 15   medical attention if you needed it?                      15     A. Yes.
 16     A. Not that I remember.                                16     Q. So between February 2nd and March 31st, did
 17     Q. When you walked away from that conversation,        17   you complain about your right hand?
 18   or the nurse walked away, did you know how to get        18     A. I mean I put in sick call while we was on
 19   ahold of medical -- the medical department if you        19   lockdown. We had a major lockdown in February.
 20   needed it?                                               20     Q. Okay.
 21     A. No. I had to learn from inmates.                    21     A. She said doctor's going to have to
 22     Q. Okay. So nobody talked to you about how to          22   reschedule. Kept on rescheduling.
 23   get ahold of medical personnel?                          23     Q. Okay. So between February 2nd and
 24     A. No, not that I remember.                            24   March 31st, was your right hand treated at all?


                                                     Page 74                                                         Page 76
  1     Q. Not that you remember.                               1     A. No.
  2        You've gone to a couple of different                 2     Q. What was wrong with your right hand?
  3   facilities. Correct?                                      3     A. It was aching. I couldn't really grip
  4     A. I only went to two facilities. Mt. Sterling          4   nothing. Like -- like my right hand had nerve
  5   and Pontiac.                                              5   damage.
  6     Q. Okay. But do you get a handbook when you             6     Q. It had nerve damage?
  7   come in?                                                  7     A. Yeah.
  8     A. Yes.                                                 8     Q. Have you seen a doctor about that nerve
  9     Q. Were you given a handbook when you got to            9   damage?
 10   Pontiac?                                                 10     A. Yes.
 11     A. Yes.                                                11     Q. And did that doctor diagnose you with nerve
 12     Q. Were you informed of the procedures on how          12   damage?
 13   things work at Pontiac?                                  13     A. Yeah. They actually gave me medication for
 14     A. Not that I remember. I can't remember.              14   it now.
 15     Q. You don't remember?                                 15     Q. Do you remember which doctor diagnosed you
 16     A. She went through the package. The                   16   with nerve damage?
 17   counselor, like, went through the package.               17     A. No, ma'am.
 18     Q. Okay. And did you sign off that you got the         18     Q. Was it a doctor at Pontiac?
 19   package? The packet?                                     19     A. Yes.
 20     A. I believe so.                                       20     Q. Do you know when they diagnosed you with
 21     Q. Did you ask any questions?                          21   nerve damage?
 22     A. No. I was aching.                                   22     A. No, I don't remember the exact date.
 23     Q. Okay. But you didn't have any questions?            23     Q. You have your medical notes. You said that
 24     A. I didn't ask no questions.                          24   you went through them. Correct?



                                                                                                  19 (Pages 73 to 76)
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                      3:18-cv-03142-SEM-TSH # 45-1                        Page 20 of 37

                                                 JUWAN MOORE 1/9/2019

                                                         Page 77                                                             Page 79
  1     A. Yes.                                                     1   -- your hand injury was from the handcuff.
  2      Q. Do you know -- do you see in there where you            2      A. Yes.
  3   were diagnosed with having nerve damage?                      3      Q. Okay. Have the abrasions on your face
  4     A. I'd have to get it out. They started giving              4   healed up?
  5   me Ibuprofens. Then they finally gave me Keppra.              5      A. Yes.
  6   It's K-E-P-P-R-A, at 10/4/18.                                 6      Q. Has your jaw healed up?
  7      Q. And that was for the nerve damage?                      7      A. Yeah, it healed up.
  8     A. Yes.                                                     8      Q. It healed up?
  9      Q. I don't have anything on there. Okay. And               9      A. Yeah.
 10   you said they gave you Ibuprofen?                            10      Q. Okay. Did the knot on your side go away?
 11     A. They kept giving me Ibuprofen. Told me to               11      A. Yeah, it went away a couple of months later.
 12   take them. It should calm it down because I kept             12      Q. Okay. Okay. And so besides your hand, does
 13   putting in and it took like three times to see a             13   anything else bother you?
 14   doctor from the schedule she was on. It took me a            14      A. I really can't see out of my right eye.
 15   long time. Kept putting in three months.                     15      Q. You can't see out your right eye.
 16      Q. So you put in for three months to see the              16      A. Yeah.
 17   doctor and then finally in October -- I'm sorry.             17      Q. When did that begin?
 18   What?                                                        18      A. That began a couple of weeks after -- after
 19     A. It's three times a month before I was sent              19   the incident happened. I kept going over there and
 20   to see a doctor.                                             20   seeing the eye doctor. They didn't have one at the
 21      Q. Okay. So how many times did you put in                 21   time. So I had to wait a couple of months. I had to
 22   about your hand?                                             22   call. They called me and they took me to UIC and got
 23     A. A lot of times.                                         23   tested on my eye.
 24      Q. Can you guess?                                         24      Q. And what did the test determine?


                                                         Page 78                                                             Page 80
  1     A. Altogether I put in over like -- like over               1      A. Man, they rescheduled me. This happened in
  2   ten times. They kept giving me Ibuprofens.                    2   November they saw me at UIC and rescheduled me. I
  3     Q. Were you seeing people when you were getting             3   just went like a week, a week and a half ago and then
  4   the Ibuprofen?                                                4   I'm going to wait on the test to come back then.
  5     A. Yeah. You go to sick call and they ask you               5      Q. When you saw the eye doctor, did he
  6   what's your problem and you tell them. Then they              6   prescribe you any sort of corrective lenses?
  7   have to schedule you for -- give you Ibuprofens or            7      A. No. He just -- they just ran tests.
  8   they'll schedule you to see a doctor.                         8      Q. Okay. So you can see well enough that you
  9     Q. So all the times they gave you Ibuprofen                 9   didn't qualify for corrective lenses?
 10   they did not send you to see the doctor.                     10      A. I can't see at all.
 11     A. No, because I didn't do the three times a               11      Q. You can't see out of your right eye at all?
 12   month thing.                                                 12      A. No.
 13     Q. Because you didn't do the three times a                 13      Q. Since when?
 14   month thing?                                                 14      A. Since I was in the incident. A couple of
 15     A. I ain't never made it through the three time            15   weeks later everything is like blurry.
 16   thing a month. You got to see the doctor at least            16      Q. You can't see at all or it's blurry?
 17   three times a month. For three times in one month I          17      A. It's blurry.
 18   wanted to see the doctor, but they rescheduled it. I         18      Q. Okay. So it's blurry, but you can see out
 19   only made it to two.                                         19   of it.
 20     Q. So let me clarify. You have to go to sick               20      A. I can't hardly -- everything -- like I can't
 21   call three times in one month before they will allow         21   see nothing. It's like I can see shadows. There's
 22   you to see the doctor.                                       22   shadows like objects, but I can't see what it is.
 23     A. Yes.                                                    23      Q. Okay. So when you went to the doctor, they
 24     Q. And you said that the hand -- your hand was             24   didn't give you any sort of corrective lenses though?



                                                                                                       20 (Pages 77 to 80)
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                     3:18-cv-03142-SEM-TSH # 45-1                        Page 21 of 37

                                                 JUWAN MOORE 1/9/2019

                                                         Page 81                                                        Page 83
  1     A. No.                                                      1     Q. Okay. Before then you could see perfectly?
  2     Q. So would your medical records from the eye               2     A. Before then? What do you mean before then?
  3   doctor show how well you could see or how well he             3     Q. Before your eyes -- before the six weeks
  4   could determine you could see?                                4   after the incident you could see perfectly?
  5     A. I didn't get that -- I didn't get that far.              5     A. Yeah, I could see perfectly. I know when
  6   I'd have to order it.                                         6   this went out.
  7     Q. Okay. I wasn't aware that you had seen the               7     Q. Okay. And so your two lasting injuries are
  8   eye doctor in regards to an injury.                           8   the hand with the nerve damage. Correct?
  9     A. I mean I just saw the doctor like a week and             9     A. Yes.
 10   a half ago. He put me on a machine. Ran the tests            10     Q. And then the eye. Correct?
 11   on my eye. I went down there and come back.                  11     A. Yes.
 12     Q. Okay. Did they ask you to do a bunch of                 12     Q. And with your hand, they've been giving you
 13   different tests?                                             13   this Keppra for the nerve damage?
 14     A. Yeah. They asked me -- gave me a bunch of               14     A. They were giving me Keppra. They switched
 15   different tests.                                             15   it to the Nor -- N-O-R-T-R-I-P-T-Y-L-L-I-N-E.
 16     Q. And what kind of tests were they?                       16     Q. I'm sorry. Can you spell that again?
 17     A. Read the letters off the wall. Like a                   17     A. N-O-R-T-R-I-P-T-Y-L-L-I-N-E.
 18   coloring book -- what color is the book. Stuff like          18     Q. Okay. And is that treating the nerve
 19   that.                                                        19   damage?
 20     Q. Okay. So like a regular eye test?                       20     A. No. I just talked to a doctor yesterday and
 21     A. Yeah. Just put me on the machine last week.             21   they upped my dose.
 22     Q. Okay. And when you did that regular eye                 22     Q. Okay. And with the eye, you're still
 23   test, did he say that you need corrective lenses?            23   waiting for the results of the test.
 24     A. I can't remember.                                       24     A. Yes.


                                                         Page 82                                                        Page 84
  1      Q. You can't remember.                                     1     Q. Do you have any other injuries?
  2     A. I don't remember if he said that or not.                 2     A. No.
  3      Q. Okay. Have you ever worn contacts or                    3     Q. Okay. And going back to February 2nd, 2018,
  4   glasses before?                                               4   can you name any of the eight people -- I'm sorry --
  5     A. Yeah, I wear glasses before.                             5   the nine people that you said were there?
  6      Q. Do you still wear glasses?                              6     A. Campbell and Cooley.
  7     A. No.                                                      7     Q. Campbell and Cooley?
  8      Q. Why do you not still wear glasses?                      8     A. Yeah.
  9     A. Man, I just need glasses to read small                   9     Q. Do you recall any time specifically when
 10   words. I don't really need glasses. I could see --           10   Officer Cooley touched you besides at the beginning
 11   because I could see at the time. So I stopped                11   of the incident?
 12   wearing them when I was a kid.                               12     A. Yes. Between -- you're talking when he
 13      Q. Okay. So as an adult you've never worn                 13   touched me?
 14   glasses.                                                     14     Q. Yeah. Besides when he cuffed you up, when
 15     A. No.                                                     15   did he touch you?
 16      Q. Okay. And you said -- when did your                    16     A. He touched me when he grabbed my arm.
 17   eyesight stop working?                                       17     Q. Okay. But after that, did he touch you
 18     A. I said like six weeks after the incident.               18   again?
 19      Q. So six weeks after the incident.                       19     A. He pushed my head against the wall.
 20     A. Yeah.                                                   20     Q. After you were cuffed up and on the
 21      Q. You just said a couple of weeks.                       21   ground --
 22     A. That's how I say a couple of weeks. That's              22     A. Right.
 23   how -- I said a couple of weeks. Like six weeks,             23     Q. -- you were then taken out to walk to
 24   month and a half.                                            24   segregation. Correct?



                                                                                                      21 (Pages 81 to 84)
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                      3:18-cv-03142-SEM-TSH # 45-1                         Page 22 of 37

                                                  JUWAN MOORE 1/9/2019

                                                           Page 85                                                  Page 87
  1     A. Yes.                                                       1        A. You said it was leather. I didn't say it
  2      Q. Did Cooley walk with you to segregation?                  2    was leather.
  3     A. Yes, because he was the one -- he was one of               3        Q. You said it was leather. So what material
  4   the ones who punched me in the face when they was               4    was it?
  5   taking turns.                                                   5        A. It was like a cotton -- how do you describe
  6      Q. Okay. So was that the next time that he                   6    it? It's another type of glove. It's not like a
  7   touched you?                                                    7    leather jacket.
  8     A. Yeah, that I know of, yes.                                 8        Q. It was like a leather jacket?
  9      Q. And how many times did he punch you when                  9        A. Not like a leather jacket.
 10   then were taking turns punching you?                           10        Q. Not like a leather jacket.
 11     A. Once.                                                     11        A. It was like another type of glove. Other
 12      Q. And did he have on the gloves?                           12    form of glove. I can't describe it or the name of
 13     A. Yes.                                                      13    it.
 14      Q. Do you remember which number he was in the               14        Q. Was it like your T shirt material?
 15   people who were punching you?                                  15        A. Like cotton?
 16     A. No, ma'am.                                                16        Q. Yeah.
 17      Q. Do you remember how many people were before              17        A. It was something like that.
 18   him?                                                           18        Q. So it was a cotton glove that was black.
 19     A. Seemed like -- I'd say either like two or                 19    Correct?
 20   three.                                                         20        A. Right.
 21      Q. Okay. So he might have been three or four                21        Q. And it had individual fingers.
 22   in line.                                                       22        A. Yes.
 23     A. Right.                                                    23        Q. But it wasn't like a regular glove you've
 24      Q. Do you remember where that glove came from?              24    ever seen.


                                                           Page 86                                                  Page 88
  1      A. No, ma'am. That glove came out of nowhere.                1     A. I mean I saw a glove like that.
  2       Q. Have you ever seen a glove like that before?             2      Q. Oh. Where? Like what -- in what situation
  3      A. Man, (unintelligible) got some brass knuckle              3   did you see a glove like this?
  4    gloves.                                                        4     A. In a fight.
  5       Q. Some prize knuckle gloves?                               5      Q. So it's like a fighting glove?
  6      A. Brass knuckles.                                           6     A. They use it as a fighting glove.
  7       Q. So these are gloves that have built-in brass             7      Q. Who's they?
  8    knuckles?                                                      8     A. The people that I was hanging around with.
  9      A. I guess -- I wouldn't say they have built-in              9      Q. Okay. Do you know where you would get a
 10    brass knuckles, but they -- the knuckle part is made          10   glove like this?
 11    like -- it's made like a knuckle. It's like hard.             11     A. No. That's my second time seeing a glove
 12    It ain't like a glove part, like rubber. It's a hard          12   like that in my life.
 13    glove to describe.                                            13      Q. Okay. And you don't know who brought the
 14       Q. I've never heard of any gloves like this.               14   glove out.
 15    So you're going to have to be very specific. Was it           15     A. No.
 16    just one glove?                                               16      Q. Do you know who put the glove in their
 17      A. Yeah, one glove.                                         17   pocket when they were done?
 18       Q. And what size -- which hand did it go on?               18     A. No. I was sleeping.
 19      A. The right hand.                                          19      Q. So you said that -- in your complaint,
 20       Q. And it was black, you said?                             20   you're asking for how much?
 21      A. Black.                                                   21     A. First I was asking for 100,000.
 22       Q. And it was leather?                                     22      Q. Okay. Now how much are you asking for?
 23      A. It was like (unintelligible).                            23     A. What I wanted to settle up was, you mean?
 24       Q. Earlier you said it was leather.                        24   Or what I'm asking for still now?



                                                                                                     22 (Pages 85 to 88)
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                      3:18-cv-03142-SEM-TSH # 45-1                        Page 23 of 37

                                                  JUWAN MOORE 1/9/2019

                                                         Page 89                                                          Page 91
  1       Q. What are you asking for now?                           1   doctor and he asked me what it was too. You talk to
  2      A. I'm still asking for 100,000.                           2   a person face-to-face once a month.
  3       Q. $100,000. And where did you get that number            3      Q. And is this like a mental health person?
  4   from?                                                         4     A. Yes.
  5      A. I just came up with a number.                           5      Q. Okay. So your mental health notes would
  6       Q. Did you do any research about injuries?                6   have any information on these nightmares that you're
  7      A. No, ma'am.                                              7   having.
  8       Q. Did you look at any previous lawsuits or               8     A. Yeah.
  9   cases from other inmates?                                     9      Q. Okay. And but besides this -- the pain and
 10      A. No. I just -- a lot of people was telling              10   suffering, the $100,000 is just you kind of came up
 11   me about it. So I just --                                    11   with it.
 12       Q. You said other people. Do you mean inmates?           12     A. Yes.
 13      A. Other inmates, yeah.                                   13      Q. How much money have you paid for medical
 14       Q. Telling you about what?                               14   treatment for these injuries?
 15      A. Like a law case. Telling like a person won             15     A. Over 100.
 16   this much through this incident. Person won this             16      Q. Over $100?
 17   much through this incident. So I just came up with           17     A. I'd say. I don't know the exact amount.
 18   100,000.                                                     18      Q. So when you're paying for medical things,
 19       Q. Okay. And why do you - why would you ask a            19   how much is sick call?
 20   jury to give you $100,000?                                   20     A. $5.
 21      A. Pain and suffering.                                    21      Q. So it's $5 sick call. How many times have
 22       Q. Pain and suffering?                                   22   you gone to sick call?
 23      A. Yeah.                                                  23     A. A lot.
 24       Q. Okay. So how long did your pain last after            24      Q. How many times? Go every day? Go every


                                                         Page 90                                                          Page 92
  1   the incident?                                                 1   week? Go every month?
  2      A. From time to time I still have pain in my               2     A. I'd say more than like 13 -- 13, 15 times.
  3   right hand.                                                   3      Q. So you've been to sick call 13 to 15 times.
  4      Q. Okay. Did the doctor say how long you're                4     A. Yes.
  5   going to have that pain in your right hand?                   5      Q. And each time costs you $5.
  6      A. No.                                                     6     A. Yes.
  7      Q. Okay.                                                   7      Q. Did you have to purchase any medication?
  8      A. He tried to treat it by giving me medication            8     A. I mean they gave Ibuprofens.
  9   hoping that would work. They don't know the time              9      Q. Do they charge you for that?
 10   limit.                                                       10     A. Yeah. I mean it's part of the $5.
 11      Q. Okay. And how have you suffered?                       11      Q. Oh. It's part of the $5. So it's not an
 12      A. By going through the altercation. Suffering            12   extra charge.
 13   through the altercation, bruised up, and I still have        13     A. No.
 14   nightmares about it.                                         14      Q. So have you had to pay extra for any type of
 15      Q. You have nightmares? Have you complained of            15   medication?
 16   those nightmares?                                            16     A. No.
 17      A. Yeah, I actually did.                                  17      Q. So you've paid $5 13 to 15 times.
 18      Q. To who?                                                18     A. Right. Correct.
 19      A. I put into sick call and I was telling the             19      Q. Have you paid any other money for your
 20   nurse about it. I'm having like nightmares. I be             20   medication or medical stuff?
 21   hearing voices and stuff like that telling me to do          21     A. No.
 22   stuff and they diagnosed me to see a doctor.                 22      Q. So that's the total amount of money that
 23      Q. And have you been talking to a doctor?                 23   you've paid for your medical stuff.
 24      A. Yeah. You have to -- yeah. I talked to a               24     A. Yes.



                                                                                                    23 (Pages 89 to 92)
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                        3:18-cv-03142-SEM-TSH # 45-1                 Page 24 of 37

                                              JUWAN MOORE 1/9/2019

                                                     Page 93                                                        Page 95
  1      Q. Okay. Have you paid any other money to go           1      A. I'd like to read over it.
  2   see the mental health people?                             2         MS. SENOR-MOORE: Okay. I don't have
  3     A. No. They just call you like once a month.            3    anything else.
  4      Q. Okay. Well, those are all the questions             4         (Deposition concluded at 3:36.)
  5   that I have. Do you have anything that you'd like to      5
  6   tell me?                                                  6
  7     A. The only thing I just wanted to show you my          7
  8   pictures. That was it.                                    8
  9      Q. Is it the picture of yourself from the day          9
 10   of the incident?                                         10
 11     A. Yes.                                                11
 12      Q. Okay. I believe I have that, but if you            12
 13   have anything that you wanted to share, you can          13
 14   always send that over in discovery.                      14
 15     A. All right. So -- all right.                         15
 16      Q. So do you have any questions, though, or is        16
 17   there anything that you'd just like to add to make       17
 18   sure that it gets on the record?                         18
 19     A. Uh-uh.                                              19
 20      Q. Okay. So before the court reporter's done,         20
 21   she can ask you if you'd like to -- if you'd like        21
 22   to --                                                    22
 23            (Wherein, an off-the-record discussion was      23
 24   held.)                                                   24


                                                     Page 94                                                        Page 96
  1            MS. SENOR-MOORE: Q You're able to read           1               CERTIFICATE
  2   over what the court reporter typed up because you're      2
  3   asked to sign.                                            3     I, Julie A. Brown, Certified Court Reporter,
  4     A. Right.                                               4   within and for the State of Illinois, do hereby
  5     Q. Would you like a copy so that you can read           5   certify that the witness whose testimony appears in
  6   over and sign or would you trust that she has taken       6   the foregoing deposition was duly sworn by me; that
  7   an accurate account of what we've said here today?        7   the testimony of said witness was taken by me to the
  8     A. Read over and sign.                                  8   best of my ability and thereafter reduced to
  9     Q. You'd like to read it over and sign?                 9   typewriting under my direction; that I am neither
 10            (Wherein, an off-the-record discussion was      10   counsel for, related to, nor employed by any of the
 11   held.)                                                   11   parties to the action in which this deposition was
 12            MS. SENOR-MOORE: Q So did you hear that or      12   taken, and further that I am not a relative or
 13   do you want me to explain it?                            13   employee of any attorney or counsel employed by the
 14     A. Can you explain it?                                 14   parties thereto, nor financially or otherwise
 15     Q. So what will happen is we'll send over a            15   interested in the outcome of this action.
 16   copy. You'll be given the copy. You'll get to go in      16
 17   a room and read it. If you'd like to make any            17
 18   corrections, they'll let you know -- or you can let      18
 19   them know what corrections you'd like to make and        19             ____________________________
 20   then sign it and then it will get sent back.             20             IL CSR# 084-004174
 21     A. All right.                                          21
 22     Q. So is that what you'd like to do or would           22   My license expires May 31, 2019.
 23   you like to just agree that what she's typed up is       23
 24   accurate?                                                24


                                                                                               24 (Pages 93 to 96)
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                       3:18-cv-03142-SEM-TSH # 45-1                     Page 25 of 37

                                                    JUWAN MOORE 1/9/2019

                                                       Page 97                                                        Page 99
  1            Alaris Litigation Services                         1   STATE OF ILLINOIS )
                711 North 11th Street                             2   COUNTY OF SANGAMON)
  2            St. Louis, Missouri 63101                          3
  3         Phone (314) 644-2191 * Fax (314) 644-1334
  4                                                               4   I, Juwan Moore, do hereby certify:
                    January 18, 2019                              5     That I have read the foregoing deposition;
  5                                                               6     That I have made such changes within the
  6     Ms. Sierra Senor-Moore                                    7   deposition as might be necessary to render the same
        500 South Second Street
  7     Springfield, Illinois 62701                               8   true and correct;
  8     In Re: Juwan Moore vs. Travis L. Cooley, et al            9     That having made such changes thereon, I hereby
  9                                                              10   subscribe my name to the deposition.
        Dear Ms. Senor-Moore:                                    11     I declare under penalty of perjury that the
 10
                                                                 12   foregoing is true and correct.
        Please find enclosed your copy of the deposition of
 11     Juwan Moore taken on January 9, 2019, in the             13
        above-referenced case. Also enclosed is the original     14     Executed this ______ day of _________________,
 12     signature page and errata sheets.                        15   2018, at _________________________________________.
 13     Please have the witness read your copy of the
                                                                 16
        transcript, indicate any changes on the errata
 14     sheets, and sign the signature page.                     17              _______________________________
 15     Please return the errata sheets and signature page to    18                   Juwan Moore
        the Production Department of Alaris Litigation           19
 16     Services in St. Louis, Missouri.
                                                                 20
 17     Thank you for your attention to this matter.
 18     Sincerely,                                               21
 19     Julie A. Brown, CSR                                           My License Expires: May 31, 2019
 20     Enclosure                                                22   Signature page to Ms. Sierra Senor-Moore
 21
                                                                      JAB - Juwan Moore - January 9, 2019
 22
 23                                                              23   Juwan Moore vs. Travis L. Cooley, et al
 24                                                              24



                                                      Page 98
  1   NAME: Juwan Moore
      DATE OF DEPOSITION: January 9, 2019
  2   RE: Juwan Moore vs. Travis L. Cooley, et al
  3   Page _____ Change __________________________________
  4   Line _____ Reason __________________________________
  5
  6   Page _____ Change __________________________________
  7   Line _____ Reason __________________________________
  8
  9   Page _____ Change __________________________________
 10   Line _____ Reason __________________________________
 11
 12   Page _____ Change __________________________________
 13   Line _____ Reason __________________________________
 14
 15   Page _____ Change __________________________________
 16   Line _____ Reason __________________________________
 17
 18   Page _____ Change __________________________________
 19   Line _____ Reason __________________________________
 20
 21
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                 3:18-cv-03142-SEM-TSH # 45-1              Page 26 of 37

                                 JUWAN MOORE 1/9/2019

         A             99:23            asked 17:21     beginning          boxing 54:18
a.m 62:18 63:1       Alaris 3:20 97:1     18:17 41:23     84:10            brass 86:3,6,7
  70:22 71:2,20        97:15              63:7,22 72:15 behalf 4:11         86:10
Abetify 11:9         allow 5:3 78:21      72:23 81:14   behavior 71:15     break 34:6
Abilify 11:8,10      allowed 65:8         91:1 94:3     believe 14:10      brought 88:13
  11:23              altercation        asking 19:7       29:12,14,14,16   Brown 1:16 3:20
ability 12:4,6,10      90:12,13           63:9 88:20,21   55:2 60:7,8,9     4:4 96:3 97:19
  96:8               altogether           88:22,24 89:1   62:19 71:5       bruise 67:18,19
able 28:15             16:12 20:20        89:2            74:20 93:12       67:20
  42:19 57:15,18       37:19 38:20      asleep 59:12    best 96:8          bruised 90:13
  94:1                 39:3 78:1        Assistant 3:6   beyond 13:2        bruises 66:4
abnormally           amount 66:1,21     assume 5:1      big 27:3 28:7       68:2
  31:20                68:14 91:17      attention 14:12   52:18 64:11,13   built-in 86:7,9
above-refere...        92:22              72:22,24 73:1   64:14,16,16,17   bullpen 59:17
  97:11              amounts 66:2,4       73:15 75:5    Bipolar 10:20       60:6
abrasions 79:3       AMT 65:22            97:17         birthday 7:20      bunch 81:12,14
accident 47:6,7      ankles 39:24       attorney 1:15     7:21             business 17:24
account 94:7           41:11 45:14        3:6 5:11,13,16bit 15:9 16:1       70:20
accurate 64:21       answer 9:1,2,4       96:13           35:9,11 56:19    bust 47:18 67:17
  71:7,11,18           12:4             August 7:21       66:11,13,15      busted 70:4,5
  72:18 94:7,24      answering 6:6      average 51:7,8  black 30:22        buzz 56:15,22
aching 68:12,15      anybody 52:13        51:9            33:16 54:10,11   buzzed 53:7,8
  68:16 73:3,5         57:14 58:5,11    aware 81:7        67:18 69:16,17    53:9,10 55:22
  74:22 76:3           58:14                              86:20,21          55:23 56:9
                     appearance                 B         87:18             57:2,4
action 96:11,15
actively 73:11         71:10,14,14      back 22:23,24 blank 61:21
                     appears 96:5        26:17 35:14,17 bleeding 66:6             C
add 93:17
adjust 35:2,5        area 21:11,14       35:20 38:2       66:9,10 67:14    C 3:1
adjustments            26:22,24 27:2     42:1,17 46:18    70:6,8,9,12      C-A-M-P-B-E-...
  35:22                27:3,3,4,9        47:18 48:22      73:11             13:19
adult 82:13            28:5,7 32:4       52:1 55:21     blood 66:16,17     call 7:6 75:10,18
affect 12:6,10         38:4,22 39:7      69:5 80:4        66:19 67:2,3      78:5,21 79:22
affiliated 10:8,11     39:11 40:7        81:11 84:3       67:19             90:19 91:19,21
afternoon 1:14         52:18 57:12,16    94:20          blue 43:7           91:22 92:3
age 4:10 7:19          57:19            backtrack       blurry 80:15,16     93:3
ago 80:3 81:10       arm 18:5,15,21      22:14            80:17,18         called 7:9 11:8
agree 94:23            22:16 23:10,13   backwards       body 23:5,8,9       14:20 65:11,13
AGREED 4:1             23:14,15,16,18    24:16,16,17,20   28:22 49:6,7      79:22
ahead 13:18            23:19,21,22      balance 35:7      73:3,5           calm 77:12
ahold 73:14,19         23:24 24:1,1,2    44:24          book 81:18,18      Camel 13:16
  73:23                24:3,4,5 40:6    banging 22:5    boots 60:19        camera 56:11
ain't 51:13 58:9       40:18 41:6,7,7    26:16          born 7:23          cameras 56:12
  63:22 78:15          84:16            Bates-stamp     bother 79:13       Cameron 13:14
  86:12              Armed 9:6,7         7:7,10,11      bottom 6:17 7:9    Campbell 13:13
al 1:7,21 6:18       arms 23:11,12       60:24 72:8       71:13             13:15 14:4
  97:8 98:2          Asian 30:22        began 79:18     boxers 60:19        29:6,7,9,12


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                3:18-cv-03142-SEM-TSH # 45-1             Page 27 of 37

                                JUWAN MOORE 1/9/2019

  29:20 48:13      classes 8:5         45:6                 74:2 79:11,18      Defendants 1:8
  48:16,22         classroom 16:21    conversation          79:21 80:14          1:21 3:5 4:2,11
  49:13 84:6,7     clean 66:11         63:15 72:18          82:21,22,23        denied 5:17,18
care 63:21         cleaned 70:19       73:17              course 36:7          department
carried 38:8,9     clockwise 49:1     Cooley 1:7,20       court 1:1,17,18        8:12,21,23
carry 41:3 42:12   close 31:12         6:18 17:5,8,20       4:4,16 5:6           9:16,20 10:2
carrying 38:6      closer 15:1         18:12,19 19:17       15:2 93:20           10:12,24 11:2
  38:19 40:1       clothes 42:24       19:22 20:3,13        94:2 96:3            13:23 73:19
case 1:5 5:21      college 8:5         20:21 22:4,15      coworkers              97:15
  89:15 97:11      color 30:24         23:1 25:22           58:8               deposes 4:11
cases 89:9           31:14 33:19       26:16 84:6,7       credits 9:13         deposition 1:11
casket 41:3          44:11 48:7        84:10 85:2         CSR 3:20,21            4:3,7 12:8,16
caught 44:21         51:4 54:9         97:8 98:2            96:20 97:19          95:4 96:6,11
  44:22,23 45:1      81:18             99:23              cuff 19:8,10,11,12     97:10 98:1
cause 1:17         coloring 81:18     Cooley's 25:14        19:14,19 22:19       99:5,7,10
cell 15:19 28:12   come 35:9,11       copy 94:5,16,16       24:12 25:15,15     depositions 9:2
  52:22              36:11 37:11       97:10,13             26:6,9             depth 64:6
Center 8:15          47:12,15 49:17   corner 62:1         cuffed 26:11,15      describe 28:9
centimeter           56:16,17 58:11   correct 5:21,22       27:11 84:14,20       31:8 41:5 54:6
  64:7               74:7 80:4         8:12,13 55:22      current 7:19           86:13 87:5,12
centimeters          81:11             63:2 66:7,8        currently 5:10       described 71:10
  64:10,17 68:3    coming 16:13        68:1 70:22           8:11,14,23 9:10    description 2:7
Central 1:1,19       20:16,17,18       74:3 76:24           9:20 13:21           71:13
certain 1:17         42:24 49:17       83:8,10 84:24      custody 8:11,20      designation
  58:16              49:23 66:17       87:19 92:18        cut 55:3 65:17         10:3
CERTIFICATE        commenced           99:8,12              71:16              determine
  96:1               4:7              correctional        cuts 65:6              79:24 81:4
Certified 1:17     complain 68:8       8:15 17:3          CWIC 62:2            diagnose 76:11
  4:4 96:3           75:17            corrections                              diagnosed
certify 96:5       complained          8:12,21,24                 D              10:19,22 76:15
  99:4               90:15             9:16,21 10:3,13    damage 76:5,6          76:20 77:3
Change 98:3,6      complaint 13:7      10:24 11:2          76:9,12,16,21         90:22
  98:9,12,15,18      88:19             13:24 94:18,19      77:3,7 83:8,13      diameter 64:7
changes 97:13      concluded          corrective 80:6      83:19               different 11:16
  99:6,9             95:4              80:9,24 81:23      dark 31:3 44:13        11:17 40:5,20
charge 92:9,12     concrete 36:21     costs 92:5           44:15                 66:2,5 74:2
cheek 64:8,19        36:24 37:1       cotton 87:5,15      date 6:14 61:2         81:13,15
  64:24 67:14      connect 19:22       87:18               62:24 75:12         difficult 5:6
  67:18 69:6         20:12 52:5       counsel 3:5 4:2      76:22 98:1,23       direction 24:7
chest 19:23        connected           96:10,13           day 1:14 14:12         24:13 96:9
Chicago 8:2          47:12,13         counselor            57:1 70:22          discovery 93:14
chin 67:19 70:4    connection          17:22 25:17,17      91:24 93:9          discussion
choice 24:15         19:17             25:19 27:14         99:14                 93:23 94:10
circle 64:12       consist 12:20       72:4 74:17         Dear 97:9            District 1:1,1,18
city 8:1           contacts 82:3      COUNTY 99:2         decent 28:8,9          1:19
clarify 78:20      continue 12:7      couple 5:15         declare 99:11        doctor 10:23,24


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                3:18-cv-03142-SEM-TSH # 45-1            Page 28 of 37

                                JUWAN MOORE 1/9/2019

 11:1,3,5,20         52:16,18 53:11    21:20 22:11        69:16,17 83:3    fell 36:22 37:1
 76:8,11,15,18       55:21 56:2        29:1 37:18        eyesight 82:17       37:10 38:1
 77:14,17,20        dragged 60:7,8   errata 97:12,13                          39:21 41:12
 78:8,10,16,18       60:9              97:15                      F           42:4,6 46:2,3
 78:22 79:20        dragging 44:20   escorting 16:15     face 24:10           46:8 47:18,21
 80:5,23 81:3        45:18,20        estimate 28:20        28:16 32:11        59:12
 81:8,9 83:20       drawstring         50:6,7              34:6,10 35:1    felonies 9:19
 90:4,22,23          43:8            et 1:7,20 6:18        44:2 46:23      felt 34:20
 91:1               dripping 66:11     97:8 98:2           50:9,10,15,15 fight 88:4
doctor's 11:13       66:13 67:3,6      99:23               50:15,16,19     fighting 10:6
 75:21               67:15           ethnicity 33:14       51:13 52:6,7       88:5,6
doctors 11:17       Drive 1:15       everybody             54:4 55:3,13    filed 12:13 13:7
document            driving 54:23      16:13 47:24         60:10 64:18     filling 49:23
 71:22              duly 96:6          48:1 49:17          66:5 68:7       finally 19:8 22:6
documents                            evidence 12:17        69:6,15 70:19      46:3 52:11,12
 13:2,5                     E          12:18               79:3 85:4          53:17 59:16
doing 18:18 19:7    E 3:1,1          exact 7:3 28:12     face-to-face         77:5,17
 19:20 22:20        Earlier 86:24      50:6 66:21          91:2            financially
 54:5               education 8:8      75:12 76:22       faced 43:22          96:14
door 18:7,8,24      effect 4:15        91:17             facilities 74:3,4 find 97:10
 19:1,3 21:8,9,11   eight 1:13 20:20 exactly 45:12       facing 23:18      fine 73:7
 21:15,17,17,19       20:23 27:7,8     48:16 56:13         32:7,12 34:10 fingers 54:16,17
 22:24 24:8,9         27:13,14 37:21   59:24             fall 34:5,5,8,21     54:19 87:21
 24:10,20,21          38:14,14,19,24 Examination           35:10,24 36:2 finish 5:4 8:3
 24:22,23 25:1        39:4,9,10,17     2:3 4:12            36:4,10 41:24 first 6:13 12:14
 25:2,4,6,9,12        48:2,11,12     examined 1:12         42:6,9,23          14:4,7,9 17:21
 25:13,15,16          53:2 54:2        4:10                43:3 46:14         34:15 37:4
 30:6 32:13           55:6 59:4      Executed 99:14      falling 24:19        40:23 41:24
 40:8 47:11,15        84:4           EXHIBIT 2:7           32:23 34:2         42:6 44:7
 49:16 53:6,6       either 40:19     EXHIBITS 2:5          35:3,6 43:11       46:8 47:12,15
 53:7,12 55:23        56:4 65:5      expires 96:22         43:12,15           50:14 56:17
 55:24 56:2,3         85:19            99:21               44:23 46:3,7       63:4 88:21
 56:10,17,18        elbow 32:3       explain 94:13,14    false 63:20       five 6:19 32:22
 57:23                34:19          expressly 4:6       far 14:6 15:18,20    33:2 38:12,15
doorknob 25:7       Eleven 8:19 9:9 extra 92:12,14         16:2,14 42:5,5 flip 61:20,21,21
doors 15:24         emergency        eye 47:17 51:4        81:5               62:21
 21:6 24:24           61:18            65:7,17 67:7,8    Fax 97:3          floor 60:11
 26:24 36:11        employed           67:9,20 68:3      February 14:16 foot 46:19 47:1
 52:16,19 53:11       96:10,13         71:16,17 79:14      15:12 16:10        52:5
 55:21 56:1         employee           79:15,20,23         61:2,17 62:3    foregoing 96:6
doorways              96:13            80:5,11 81:2,8      63:1 72:5 75:5     99:5,12
 15:22              enclosed 97:10     81:11,20,22         75:16,19,23     forehead 67:21
dose 83:21            97:11            83:10,22            84:3            forenoon 1:13
double 21:7         Enclosure        eyelid 65:3         feel 34:7         form 87:12
 24:24 36:11          97:20            67:11 69:7        feet 27:19 28:10 forward 61:20
 47:11,15,16        entire 12:7      eyes 31:14 67:17      42:8 51:19         61:21


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                3:18-cv-03142-SEM-TSH # 45-1           Page 29 of 37

                               JUWAN MOORE 1/9/2019

four 37:8,14,17    86:1,2,12,13,16    29:24 30:1       32:10 34:4,9     helps 28:14
  37:23 38:1,3,5   86:17 87:6,11      84:16            34:11,18,19      high 8:3,6,9
  39:3,4,5,22      87:12,18,23       grant 5:4         39:24            highest 8:8
  42:10 85:21      88:1,3,5,6,10     grip 76:3        hanging 88:8      hit 26:19 47:17
fro 55:17          88:11,14,16       ground 22:6      happen 94:15        55:5 57:19
front 6:9 23:2   gloves 53:18,23      26:18 27:17,21  happened 16:11    hitting 53:16
  43:23 47:1       53:24 54:1,6       27:22,23,24      17:20 26:15      holding 19:18
  56:18            54:8,12,16,18      28:16 32:8       41:23 42:3,9       23:11,12,14,15
further 96:12      54:19,22,22        41:22,22         47:20 52:9         23:16,23 24:2
                   54:23,24 55:1      43:22 45:2       53:4 62:10         31:24 32:2
        G          55:2,8 85:12       47:18,21 50:16   63:7,9 72:15       34:19 37:7
gallery 16:23      86:4,5,7,14        53:10,12 84:21   79:19 80:1         38:14,19 40:15
  16:24 32:14    go 6:23 8:5         guess 25:10      hard 53:20          41:2,3,4,5,10
gang 10:7,12       13:12,18 15:16     77:24 86:9       54:13,14 86:11     54:3 55:12,13
gangs 10:9         16:2,6 17:1,13    guy 55:12         86:12            hoping 90:9
gardening          18:2,6,7 24:13    gym 36:18        hat 33:23         hours 1:13
  54:22            25:15,16 36:11                     hats 33:21        housing 21:7
gate 16:1 36:12    36:12 37:14               H        head 22:5         hurried 44:23
  36:12,18         45:23 55:21       hair 31:1 33:19   26:16,19         hurting 68:24
gathered 12:17     56:4,5,6           44:11,15,16      28:24 31:12        69:3,11
  12:18            58:24 60:21        48:7 51:2        32:7,11 34:4
General 1:15       60:24 66:24        55:15            34:10,11 43:22             I
  3:6              69:5 70:20        haircut 31:4,5,6  48:24 49:2       Ibuprofen 77:10
generally 9:2,4    70:24 78:5,20      31:8,9           54:3 69:20          77:11 78:4,9
getting 42:23      79:10 86:18       half 80:3 81:10   69:23 70:1       Ibuprofens
  58:3 78:3        91:24,24 92:1      82:24            84:19               77:5 78:2,7
give 28:12 50:6    93:1 94:16        hand 23:10       healed 79:4,6,7      92:8
  66:21 70:15,18 going 4:18 7:6       37:6,6 40:2      79:8             ice 70:18
  73:6 78:7        7:10 15:8,15       68:10,11,12,15 health 71:6 91:3   ID 18:1
  80:24 89:20      16:2,13,22         68:18 75:6,7,9   91:5 93:2        IDC 47:12
given 74:9         18:6 19:4 21:7     75:13,17,24     hear 5:6 12:4     IDOC 6:18
  94:16            21:10 24:17,19     76:2,4 77:22     52:13 58:15      ignored 43:18
giving 77:4,11     24:20,23           78:24,24 79:1    94:12            IL 96:20
  78:2 83:12,14    30:6 34:5,7,21     79:12 83:8,12 heard 86:14         Illinois 1:1,15,16
  90:8             56:3,7 57:15       86:18,19 90:3 hearing 15:3           1:19 3:7,21
glancing 46:18     58:9,9,12          90:5             90:21               7:24 8:1,12
glass 18:22,23     75:4,21 79:19     handbook 74:6 heavy 51:6              9:16 10:2,12
  18:24 19:6       80:4 84:3          74:9            height 20:7          96:4 97:7 99:1
  47:17            86:15 90:5,12     handcuff 79:1     50:22            illness 6:5 10:16
glasses 44:5     good 9:13 35:15     handcuffs 18:10 held 19:21         immediately
  82:4,5,6,8,9     51:13 63:14        19:9 21:1,2,3,4  93:24 94:11         29:23
  82:10,14       grab 18:4            22:2,3,4,10,13 help 37:3          inaccurate
glove 53:14,16   grabbed 18:2,3       27:17 68:17,18 helped 13:9,11        72:21
  53:17,19 54:5    18:5,8,13,15      hands 19:18,21    37:4 41:13       inch 20:7 65:2
  54:21 59:1,10    19:5 22:15         20:8,13 22:9    helping 25:18     inches 31:19,21
  69:13 85:24      23:10,17,19        22:12 23:7       25:22            incident 14:13


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                  3:18-cv-03142-SEM-TSH # 45-1           Page 30 of 37

                                 JUWAN MOORE 1/9/2019

  32:20 79:19         4:3 96:3 97:19   69:22 79:10        laying 27:24        lieutenant 29:6
  80:14 82:18,19    jumped 63:13     know 4:21 7:14       lead 19:3              29:9,12,20
  83:4 84:11          72:16            9:10 11:11,13      leads 60:9             38:13,16,17,20
  89:16,17 90:1     June 13:8          11:20 13:23        learn 73:21            48:14,15,16
  93:10             jury 89:20         14:6,9 17:9,17     leather 54:7,11        49:12
include 20:21       Juwan 1:4,11,19    20:4 21:3             86:22,24 87:1    life 88:12
included 6:10         3:3 4:9 9:24     25:8,20 28:3          87:2,3,7,8,9     lift 51:23,24,24
  27:14               97:8,11 98:1,2   30:15 40:3,4          87:10               52:2
including 16:12       99:4,18,22,23    40:13 41:1 43:1    leaving 16:21       light 44:15
INDEX 2:1                              43:21 44:6,10         32:14            limit 90:10
indicate 97:13               K         44:16 47:4         left 16:1 18:5,15   line 85:22 98:4
individual 87:21    K-E-P-P-R-A        48:7,7,13             22:15 23:15,18      98:7,10,13,16
information           77:6             50:11,15,20,24        23:20,21,23         98:19
  91:6              keep 35:7 41:15    52:11 54:13,21        23:24 24:1,3,5   lip 67:17 70:8
informed 74:12      Keppra 77:5        54:23 56:13           30:17 32:6       lips 70:4
injuries 67:16        83:13,14         58:15,19 59:18        33:8,9 34:16     listen 12:4
  67:24 68:5        kept 32:23         59:22,24              37:6 38:4,10     Litigation 3:20
  69:5 75:2,4         34:2 35:20       68:6 71:24            39:7 40:6,18        97:1,15
  83:7 84:1 89:6      41:17 75:22      72:1,2,3,11           40:24 48:21      little 15:9 16:1
  91:14               77:11,12,15      73:18 75:12,12        49:3,8,10,13        21:14 27:2
injury 64:6,7,23      78:2 79:19       76:20 77:2            49:15,16 52:8       35:9,11 55:18
  67:10,13 79:1     kick 48:18 50:1    83:5 85:8             56:4 68:20,21       56:19 66:11,13
  81:8                51:22            88:9,13,16         left-hand 36:19        66:15,23,24
inmate 13:20        kicked 28:15,18    90:9 91:17            61:24               67:2,3 69:2
inmates 16:7,8        28:22,23 29:4    94:18,19           leg 40:12,15,24        69:22 70:9,10
  16:9,16 17:11       29:12,15,16,18 knowledge               45:18 46:11      living 15:19
  73:21 89:9,12       50:4,5,9,10,14   29:15                 47:3,5 48:19     located 56:13
  89:13               50:18 51:20    known 9:23              48:20,21         lockdown 75:19
inside 15:5           51:23 57:19    knuckle 53:15           49:13 51:23         75:19
  36:15 45:15,16    kicking 27:24      53:20 54:13           51:24,24         locked 14:1
interested            28:2,24 41:18    54:14 86:3,5          68:14,24 69:1       21:17
  96:15               41:18 47:24      86:10,11           legs 41:10 45:12    long 8:17,20
involved 15:12        48:17 49:13,18 knuckles 53:15          45:14,16 46:12      9:7 16:4 26:8
                      49:19,21,22      86:6,8,10          length 55:16           26:10 31:10
         J            50:3,16 52:10                       lenses 80:6,9          32:13,16,18
JAB 99:22             53:13 68:22             L              80:24 81:23         36:18 58:24
jacket 87:7,8,9       69:4           L 1:7,20 97:8        let's 7:18 14:12       59:18 77:15
  87:10             kid 82:12          98:2 99:23            22:14 50:7          89:24 90:4
January 1:12        kind 17:23       lasting 83:7            55:21 60:21      look 33:3 43:20
  97:4,11 98:1        22:14 49:9     late 51:18              62:21 66:24         44:4 50:21
  99:22               81:16 91:10    law 89:15               69:5                51:13 54:20
jaw 52:8 68:2       knee 69:2,2      lawful 4:10          letters 81:17          54:24 89:8
  69:9,11 79:6      knew 43:12       lawsuit 5:14         level 8:8           looked 30:14
Johnson 17:13       knob 25:11       lawsuits 12:13       license 96:22          30:20 43:21
Jones 17:14         knot 67:21         89:8                  99:21               48:4 51:2
Julie 1:16 3:20       68:19 69:20    lay 27:21            lie 63:20 64:3      looking 7:16


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                3:18-cv-03142-SEM-TSH # 45-1       Page 31 of 37

                            JUWAN MOORE 1/9/2019

  50:12,14       75:18 81:9        99:4,18,22,23    nine 27:15 29:9     20:13,21 25:14
  63:23          83:2 88:1,23     morning 5:24        84:5              39:16 43:1,19
lost 66:20,22    89:12 92:8,10     16:10 62:9       normally 21:17      43:20 44:8
  67:2          measurements      motorcycle          21:18 46:24       45:6 46:9
lot 66:23,24     28:13 52:20       55:2             North 3:21 97:1     50:18 84:10
  70:9 77:23    medical 6:10      mouth 15:2        note 6:14 61:1,4   officer's 44:15
  89:10 91:23    12:21 13:3,6     move 15:1 18:7      61:6 62:18       officers 20:16
Louis 3:22 97:2  63:21 71:24      moving 24:18        63:3              20:17,19,24
  97:16          72:13,22,24      Mt 14:17,20,20    noted 67:10         21:22 27:4,6,8
low 41:18        73:1,15,19,19     61:11,14,15      notes 63:15         27:13 37:3,5,8
lower 48:19      73:23 75:5        62:20 74:4         65:19 76:23       37:11,14,17,24
                 76:23 81:2                           91:5              38:1,4,5,12,13
        M        91:13,18 92:20           N         November 6:15       38:13,15,18,20
ma'am 5:12 6:12  92:23            N 3:1               80:2              38:21 39:8,10
  33:21 37:16   medication        N-O-R-T-R-I-P... numb 68:7            39:13 42:11
  45:11 57:10    5:23 6:1 11:7      83:15,17        number 6:18         43:10,14 48:2
  76:17 85:16    11:21 70:16      name 9:23           7:7,7,9,11,11     48:3 50:1
  86:1 89:7      76:13 90:8         10:21 11:13       50:6 85:14       offices 1:14
machine 81:10    92:7,15,20         13:12 14:4,6,7    89:3,5           Oh 63:24 69:24
  81:21         mental 10:15        14:8,9 17:10,13 nurse 60:2 61:4     71:16 88:2
major 75:19      91:3,5 93:2        17:18 25:20       61:6,11 62:13     92:11
majority 22:1   messed 43:19        39:13,14,14       62:15,17 63:3    okay 4:22 5:20
  28:3          microphone          40:4 43:1         63:6 68:4         6:1,5,9,13 7:8
male 33:12,13    15:1,5             50:11 84:4        70:11,15,21       7:12,14,16,18
man 11:15 37:4  middle 70:1         87:12 98:1        72:7,9,12         8:3,8,11,17 9:7
  41:20 47:23   mine 6:13,23        99:10             73:18 75:10       10:15 11:13,17
  49:16 50:8    minutes 16:5      names 28:4          90:20             12:1,13 14:11,13
  63:18 64:12    32:23 33:2         30:8            nurses 59:17        14:22 15:7,9
  66:8 67:2     mirror 68:6       necessary 99:7      72:4              15:15 16:15
  70:12 73:3    Missouri 3:22     need 5:7 17:22                        17:19 19:5,16
  80:1 82:9      97:2,16            81:23 82:9,10           O           19:21 20:12,23
  86:3          MKD 2:7           needed 72:23      o'clock 1:13,14     21:13,22 23:15
March 75:14,16 money 91:13          73:15,20          20:10             23:21 24:6,13
  75:24          92:19,22 93:1    neither 96:9      oath 4:15           25:1 26:12
marked 6:18     month 77:19       nerve 76:4,6,8 objection 9:3          27:16 28:14
  71:1           78:12,14,16,17     76:11,16,21     objects 80:22       30:16 31:24
material 36:20   78:17,21 82:24     77:3,7 83:8,13 Obviously            32:13 33:7
  36:22 87:3,14  91:2 92:1 93:3     83:18             43:12             34:1,16 35:2
matter 97:17    months 8:19       never 5:17 33:2 occur 61:10           37:3 40:17
mean 19:23       77:15,16 79:11     63:22 78:15     October 77:17       41:12 42:3
  29:6 31:4      79:21              82:13 86:14     off-the-record      43:10,19,23
  33:18 34:24   Montvale 1:15     nickname 14:5       93:23 94:10       44:17,19 45:1
  35:13 37:22   Moore 1:4,11,19   nightmares        offender 6:14       45:6,9,21
  41:19 56:12    3:3 4:9 6:18       90:14,15,16,20 officer 17:3,7,9     46:24 47:8,14
  58:7,8 65:24   9:24 15:8          91:6              17:20 18:12,19    48:22 49:9
  66:15 70:7     97:8,11 98:1,2   nighttime 11:24     19:17,22 20:3     50:4,18 51:11


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                3:18-cv-03142-SEM-TSH # 45-1             Page 32 of 37

                                 JUWAN MOORE 1/9/2019

  52:9 53:3          67:17 70:4,5      46:11,12,20          73:23            prescribed
  54:16,20          opposite 24:19     47:3,5 60:12       Pertaining          11:21
  55:15,20          order 81:6         60:14,14,17,18       12:23            pretty 32:16
  56:11 57:8,22     ordered 71:24     paper 63:16         Phone 97:3          64:14,15,17
  58:2 59:4         original 97:11    papers 6:9          photo 13:6         prevent 6:6
  60:2,12,21 61:1   originally 21:9   paperwork 6:10      photos 12:21        35:3,5
  61:6,10,17        outcome 96:15     part 10:7 23:5,8    physical 19:17     previous 89:8
  62:9,12,18,21     outpatient 6:14    28:23 29:9           71:14            previously 9:15
  62:24 63:6,6       61:1              54:14 55:22        pick 29:7          prior 55:23
  63:14 64:3,5      outside 15:24      86:10,12 92:10     picked 37:5        prison 14:20
  64:19 65:5,10      18:2,6,7 19:4     92:11                42:10,11          32:15
  65:15,19 66:6      20:17 30:5,6,7   part's 54:13        picking 39:6,24    prize 86:5
  66:13,19 67:6      36:15,16 44:14   parties 96:11,14    picture 55:17      pro 3:3
  67:16,24 68:8                       parts 53:20           67:23 93:9       probably 31:21
  68:13 69:5,14             P         pass 56:2           pictures 13:3       47:7 51:16,18
  69:19 70:21       P 3:1,1            59:10                93:8              68:17,22
  71:10,20 72:8     package 74:16 passed 54:2             piece 59:9         problem 78:6
  72:17,23 73:11      74:17,19         59:19,19           place 29:1         problems
  73:14,22 74:6     packet 60:22      passing 59:1          52:15 65:5        42:22
  74:18,23 75:1       74:19           pay 92:14           placed 8:14,17     procedures
  75:20,23 77:9     page 2:2,7 6:13 paying 91:18            14:15             74:12
  77:21 79:3,10       6:23,24 7:1,8 penalty 99:11         Plaintiff 1:5,20   produced 1:11
  79:12,12 80:8       7:11 60:24      pending 1:18          4:2               4:10
  80:18,23 81:7       61:20,20,21     people 11:16        plastic 54:15      Production
  81:12,20,22         61:22 62:21      20:15 26:3,12      please 5:3          97:15
  82:3,13,16          63:23,24         29:10 39:17          97:10,13,15      progress 6:14
  83:1,7,18,22        70:24 72:8       52:24 54:2         plenty 35:4         61:1
  84:3,17 85:6        97:12,14,15      55:5 57:23         plus 38:16,17,18   pull 45:9 46:12
  85:21 88:9,13       98:3,6,9,12,15   58:19 59:4         pocket 88:17       punch 55:7
  88:22 89:19         98:18 99:22      63:12 78:3         point 7:5 47:23     59:9,10 85:9
  89:24 90:4,7      pages 7:2,5        84:4,5 85:15       pointed 44:2       punched 58:3
  90:11 91:5,9        61:21            85:17 88:8         Pontiac 8:14,18     59:2,4 63:12
  93:1,4,12,20      paid 91:13 92:17   89:10,12 93:2        11:5 13:20,21     85:4
  95:2                92:19,23 93:1 perfectly 83:1,4        61:8,9,23,23     punches 59:7
older 51:11         pain 70:15         83:5                 72:10,19 74:5    punching 53:14
once 7:15 26:15       89:21,22,24     perjury 99:11         74:10,13 76:18    54:4 55:10,13
  27:11,21,23         90:2,5 91:9     person 13:12        portrayal 72:18     59:1 69:13
  45:8 47:8         pair 53:23,24      32:5 33:3,5,7      position 32:10      85:10,15
  57:22 72:9,19       54:1             33:23 34:3,16        33:4 34:9        purchase 92:7
  85:11 91:2        pant 45:18         40:2,5,6,14          35:15 42:2,17    purpose 47:5
  93:3              pants 43:2,3,6     40:20,21,23        possible 14:22     push 25:9,12,13
one's 55:13           43:7,8,11,12,15  48:12 55:10        Pousey 17:14,16    pushed 19:6
ones 54:4 85:4        43:20 44:8,19    59:2,8,13          Pousky 17:15        84:19
open 21:16,18         44:20 45:7,10    89:15,16 91:2      prepare 12:15      pushing 18:21
  21:19 25:3,4,5      45:13,15,16      91:3               prescribe 11:7      19:12,15,19
  25:9,13 47:18       46:2,4,6,9,10 personnel               80:6              21:15 22:21,22


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                3:18-cv-03142-SEM-TSH # 45-1               Page 33 of 37

                                JUWAN MOORE 1/9/2019

 23:4,19,22,24      98:10,13,16,19    render 99:7             46:8 47:17          16:6,14,18,21
 24:1,4,6,7,9,11  recall 20:19        rephrase 4:21           49:22 56:5,18       16:22 17:1
 24:14,15,21,22     21:13 50:11       reporter 1:17           56:20 61:7        screaming
 26:10 35:20        62:12 84:9          4:4 5:6 15:2          62:13 63:2          17:23,24
put 21:2,3 27:16  record 72:1           94:2 96:3             64:7,19,24        se 3:3
 38:2 42:1,16       93:18             reporter's              65:3,7,22         seated 12:7,11
 42:17 50:15      records 6:11          93:20                 67:9,11,13,20     second 3:6
 63:18 65:15        12:21 13:3,6      represent 5:18          68:10,11,15,19      37:5,9,9 39:21
 66:18 70:19        81:2              representation          68:24 69:1,6        42:6,9,23
 75:10,18 77:16   red 66:11 67:15       5:20                  69:6,9,11 71:16     46:4 88:11
 77:21 78:1         70:7              represented             75:2,6,7,9,13       97:6
 81:10,21 88:16   reduced 96:8          5:10                  75:17,24 76:2     see 11:5,17
 90:19            refer 7:5,6         reschedule              76:4 79:14,15       28:15 32:11,12
putting 22:12     refuse 63:21,22       75:22                 80:11 84:22         33:5 39:15,16
 77:13,15           72:22             rescheduled             85:23 86:19         40:16,17,19,22
                  refused 71:8,9        78:18 80:1,2          87:20 90:3,5        44:4,6,16
        Q         regards 5:13        rescheduling            92:18 93:15,15      46:17,18,22
qualify 80:9        81:8                75:22                 94:4,21             46:23 47:23
question 4:19     regular 31:9        research 89:6         ripped 60:20          49:1,6,6,7,8,12
  4:20 5:1,3,4      81:20,22          reserved 4:6          robbery 9:6,7         51:15 56:14,16
  9:5               87:23             respect 5:5           room 14:23            56:17 57:11,15
questions 2:2     related 96:10       respond 5:4             36:19 94:17         57:18,20,21
  4:18 6:6 7:14   relative 96:12      rest 42:12            rotating 55:14        57:23,24
  7:19 12:4 74:21 released 9:11       restrain 27:19        rubber 86:12          62:17,21 66:16
  74:23,24 93:4     13:24             restrained 18:9       running 20:15         71:4 77:2,13,16
  93:16           remain 12:7,11      results 83:23                               77:20 78:8,10
                  remember            retain 5:16                  S              78:16,18,22
        R                                                   S 3:1
                    10:21 14:15       return 97:15                                79:14,15 80:8
R 3:1               17:7,11 21:22     review 13:2,5         SANGAMON              80:10,11,16,18
raise 9:3           28:17 30:1,3,8    right 4:17,23           99:2                80:21,21,22
ran 80:7 81:10      30:14,19,24         5:2,9,19 6:20       saw 33:5 61:11        81:3,4 82:10,11
randomly 53:3       31:4,14 32:5        7:13,17 8:13,16       70:12,21 72:1       83:1,4,5 88:3
read 81:17 82:9     33:7,9,11,14,16     9:6 10:21 14:14       75:13 80:2,5        90:22 93:2
  94:1,5,8,9,17     33:19,24 38:3       15:7,10,11,20         81:9 88:1         seeing 78:3
  95:1 97:13        40:14 43:4          15:21 16:3          saying 22:7           79:20 88:11
  99:5              44:11 47:19         19:11 21:1 22:17      46:1              seek 75:5
reading 63:16       48:3 51:1,19        23:14,16,19,22      says 4:11 61:2      seeking 73:2
real 14:4,6         52:14,14 54:12      23:23 24:1,2,4        62:2,24 64:5      seen 44:17 76:8
really 17:23        57:3,5,6 59:7       26:5,7 29:22          65:2,22 71:14       81:7 86:2
  28:12 33:5        59:24 60:6,11       30:8,17,18            72:22               87:24
  39:15 44:6        60:21 73:16         31:24 32:2,12       scarred 70:7        seg 10:6 29:8
  51:13 62:19       73:24 74:1,14       33:3,5 34:3         scars 60:10           29:21 30:4
  64:12 72:1        74:14,15 76:15      36:13,13 37:6       schedule 77:14      segregation
  76:3 79:14        76:22 81:24         39:15,17,19           78:7,8              29:19 32:14
  82:10             82:1,2 85:14        40:2,6,12,15        school 8:3,6,9        34:2 37:15,23
reask 4:20          85:17,24            41:6,14 45:23         15:13,16,16,18      38:7,8,22
Reason 98:4,7

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                3:18-cv-03142-SEM-TSH # 45-1                Page 34 of 37

                                 JUWAN MOORE 1/9/2019

  39:11 42:13,19      33:5,8,10 34:3      57:22              start 7:16,18      story 63:11
  42:23 45:24         34:17 36:19       SM 65:22               26:10 30:3       straight 20:9
  47:8,9,11           39:15,17 41:18    small 27:2,3,4,9       46:7               34:23,24 56:4
  55:22 56:6,8        49:4,7,8,15,16      64:15,16           started 18:20        56:5,6,7
  84:24 85:2          49:22 50:2          65:24 66:2,4         22:5 23:10,15    straighten
send 78:10            52:8 56:19          68:14 82:9           26:16 27:24        35:14,17
  93:14 94:15         67:20 68:14       somebody 13:9          28:2 30:5        Street 3:6,21
Senor-Moore           68:19,20,21         47:9 56:14,21        41:17 42:2,18      97:1,6
  2:3 3:5 4:13        69:9,11,21,23       56:24 58:2,16        48:17 50:3,16    stub 52:4
  15:7 94:1,12        69:24 79:10         71:4 72:11           53:13 77:4       stuck 68:18
  95:2 97:6,9       sides 41:8          sorry 14:18 32:9     starts 6:13        stuff 81:18 90:21
  99:22             Sierra 3:5 97:6       48:6 52:3          State 96:4 99:1      90:22 92:20
sent 6:10 77:19       99:22               63:8 66:3          States 1:1,18        92:23
  94:20             sign 16:19 74:18      77:17 83:16        status 71:7        subscribe
sentence 9:8          94:3,6,8,9,20       84:4               stay 35:1,16         99:10
sentencing            97:14             sort 6:1 18:10       step 43:3 47:2     suffer 10:15
  9:17              signature 4:5         80:6,24            stepped 44:20      suffered 90:11
series 4:18           97:12,14,15       South 3:6 97:6         44:21            suffering 89:21
Services 3:20         98:23 99:22       sp 17:14             stepping 46:13       89:22 90:12
  97:1,16           signing 16:17,18    space 49:23            46:15,19,20        91:10
set 9:10              16:23,24 17:4       65:22                47:4             summary 71:7
settle 88:23          17:6,19           speak 12:22          steps 42:16        supposed 6:2
seven 32:22         Sincerely 97:18       15:8 72:9            56:3             sure 5:8 7:2
  33:2 38:20        sits 15:5           SPEAKER 15:4         Steri-Strip          35:23,23
shadows 80:21       sitting 56:21,24    speaking 5:8           65:13              93:18
  80:22               57:3,14           special 53:19        Sterling 14:17     swelling 65:20
share 93:13         situation 61:10     specific 86:15         14:20,21 61:11   swinging 25:1
sheet 67:22           72:14 88:2        specifically           61:14,15 62:20   switched 83:14
  68:1              six 1:13 38:12,18     84:9                 74:4             sworn 1:12 4:10
sheets 97:12,14       82:18,19,23       spell 11:11 13:18    STG 10:3,6           96:6
  97:15               83:3                17:17 83:16        stick 58:9
shirt 87:14         size 28:8,9,12      spoke 62:13,15       STIPULATED                T
short 31:10,11,12     51:7,8,9            72:11                4:1              T 87:14
  44:7,7,9            52:22 64:6        spots 66:2,5         stitches 65:7,8    take 5:7 6:2 8:5
shorter 20:5,7        86:18             Springfield 1:16       65:11 66:18        11:23,24 12:1
  32:24 33:8        skinny 51:6           3:7 97:7             68:3 70:20         26:8 29:21
  55:18             slammed 22:6        ssenormoore...       stomach 48:23        32:18 77:12
shorthand 4:3         26:18 27:23         3:8                  48:24 49:2,4     taken 4:3 84:23
show 81:3 93:7      slash 71:14         St 3:22 97:2,16      stood 41:23          94:6 96:7,12
sick 75:10,18       sleep 53:17         stack 7:1,3            42:1               97:11
  78:5,20 90:19       59:3,5            stairs 15:23         stop 19:18 22:8    talk 17:22 63:6
  91:19,21,22       sleeping 88:18      stand 34:23,24         29:5 52:11         72:5,13 91:1
  92:3              slide 53:7            35:23                58:9,11 82:17    talked 5:13,15
side 30:11,18       slide-in 55:24      standing 17:7        stopped 29:23        72:2,3,4,7,19
  31:24 32:2,6        56:3,10,18          21:5,20,21           29:24 52:11,12     73:22 83:20
  32:12,15 33:3     sliding 53:11         73:8                 53:4 82:11         90:24


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                3:18-cv-03142-SEM-TSH # 45-1                  Page 35 of 37

                                   JUWAN MOORE 1/9/2019

talking 6:24           16:9 26:19           78:17,21 85:9        14:2 72:6          39:21 61:21
  60:22 73:9,12        31:16 51:8,17        91:21,24 92:2      Travis 1:7,20        69:16,17 74:4
  84:12 90:23          62:20 64:11,14       92:3,17              14:10 97:8         78:19 83:7
tall 20:1,3 30:15      64:17 66:19        today 4:15 5:23        98:2 99:23         85:19
  30:16 31:16,16       66:22 72:21          6:3 11:23 94:7     treat 70:13 90:8   type 5:23 6:5
  31:20 40:10       thought 63:18         today's 12:15        treated 75:24        10:15 18:23
  57:5              three 8:22 16:5       told 17:21,22,24     treating 83:18       21:14 36:20
taller 20:5 31:18      16:12,16 36:5        18:1,1 19:10,11    treatment 91:14      36:22 43:6
  31:18,19,21          56:1,2 65:7,15       19:20,20           tried 24:12          54:20 70:15
  33:8                 68:3 77:13,15        22:19,20 29:7        26:17 35:7,11      73:1 87:6,11
tank 60:19             77:16,19 78:11       29:20 34:3,4         35:17 43:2         92:14
tape 65:9,9,10         78:13,15,17,17       34:5 35:1            44:5 46:13       typed 94:2,23
  65:11,13             78:21 85:20          42:14 63:11,12       47:2 52:4        types 54:24
television 15:6        85:21                72:15,23 73:5        90:8             typewriting 4:5
tell 7:19 10:18     threw 53:10,12          73:7 77:11         trip 45:4,5          96:9
  40:22 43:10       tied 32:11            top 15:5 30:9        tripping 41:21
  43:14 62:19       tight 12:1              45:12 60:19        trouble 15:2               U
  63:10 68:4        tilted 20:10            61:24 69:20        true 99:8,12       Uh-uh 93:19
  70:11 73:14       time 7:6 9:13           70:1               trust 94:6         UIC 79:22 80:2
  78:6 93:6            12:7 15:16 16:11   tossed 47:17         truthfully 6:7     understand
telling 19:12          18:9,12 19:13      total 37:8 38:14     try 27:19 34:23     4:14,19,22 5:1
  22:8 89:10,14        21:5,6,20,21         53:1 92:22           35:2,22 46:12     64:10 65:24
  89:15 90:19,21       22:7,10,11 23:1    totally 60:15,16     trying 24:11       unintelligible
ten 78:2               25:17 26:10        touch 25:21,23         25:14 26:2,3      41:20 62:16
test 79:24 80:4        29:17 34:15          26:1 44:19           26:6 35:9         86:3,23
  81:20,23             35:16 37:1,4,5       45:2,6 46:10         45:9             unit 15:5 21:7
  83:23                37:9,9,18 39:5       84:15,17           turn 14:12 19:14    39:11 42:13,20
tested 79:23           39:21 41:12,16     touched 44:8           19:19 22:19       42:23
testifying 4:16        42:7,24 45:21        46:10 84:10,13       24:12 25:11      United 1:1,18
testimony 4:15         46:4,8 47:23         84:16 85:7           26:2,3,17        UNKNOWN
  96:5,7               49:5 50:5,13       touching 19:23         43:21 55:7        15:4
tests 80:7 81:10       51:15 55:11,15       21:23 22:1           57:24            unlocked 25:2
  81:13,15,16          59:18,22 60:1        23:3,5,8,9         turned 19:8         25:5,6
Thank 14:11            60:13 61:2           34:17 39:2,20        21:4 26:11       upped 83:21
  97:17                62:7,24 71:4         39:22,23             48:24 49:3,6     upper 23:9
Thanks 15:11           73:8,12 77:15        47:19                49:10            use 88:6
thereon 99:9           78:15 79:21        tower 56:19,19       turns 47:24        usually 32:24
thereto 96:14          82:11 84:9           56:22 57:1,3         53:13,16,22
                                                                                         V
thing 14:19 29:1       85:6 88:11           57:9,11,14,23        53:23 54:4,5
  36:6 44:10           90:2,2,9 92:5        58:2,5,11,14,17      55:6,14 85:5     v 6:18
  55:4 60:11,18     times 26:19             58:20                85:10            vestibule 21:14
  78:12,14,16          28:17,21 29:5      transcribed 4:5      Twice 26:21          26:22 28:5,7
  93:7                 35:4 36:4,5        transcript 97:13     two 15:24 16:5       29:2,10 37:15
things 74:13           50:4,8 77:13       transfer 61:18         21:6 26:3,24       37:23 38:4,6
  91:18                77:19,21,23          71:7                 30:12 36:5         38:10,22 39:7
think 12:3,6,10        78:2,9,11,13,17    transferred            37:11 38:13,18     39:11 40:7
                                                                                    57:12,16,19

                                ALARIS LITIGATION SERVICES
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                3:18-cv-03142-SEM-TSH # 45-1          Page 36 of 37

                              JUWAN MOORE 1/9/2019

video 1:11 3:3    warmth 54:23      woman 11:15         56:7,10,23        89:2,3,18,20
voices 90:21      wasn't 67:15      women 57:8          57:20,24          91:10
vs 1:6 97:8 98:2   81:7 87:23       won 89:15,16        60:16,23        11th 3:21 97:1
  99:23           way 12:3 18:9     words 82:10         61:23 63:17     12 7:21 13:8
                   24:19 36:14      work 35:4,19        64:18 65:4      13 42:8 92:2,2
        W          42:12 70:13       47:10 57:8         66:10,14,24       92:3,17
wait 38:15 79:21 we'll 94:15         74:13 90:9         67:5,17 69:8    15 28:21 29:5
  80:4            we're 5:8 12:8    working 82:17       70:2 71:16        92:2,3,17
waiting 83:23     we've 94:7        worn 82:3,13        72:3,7 73:5     150 51:10,11
wake 59:15        wear 82:5,6,8     wouldn't 24:17      76:7,13 78:5    16 50:8
walk 15:22,23     wearing 53:18      35:24 86:9         79:7,9,11,16    18 97:4
  15:24 16:1,4,6   82:12            wrist 34:18         81:14,21 82:5   18-3142 6:18
  16:7,8,19 21:10 week 80:3,3        68:12              82:20 83:5      18-3142-SEM-...
  29:7 32:13,16    81:9,21 92:1     wrists 32:3         84:8,14 85:8      1:6
  32:19,24        weeks 79:18       write 13:7          86:17 87:16     1997 7:22
  34:14 35:16      80:15 82:18,19   wrong 76:2          89:13,23
  36:8,9,10,13     82:21,22,23      wrote 63:19         90:17,24,24             2
  38:7,21 42:6     82:23 83:3        68:9               91:8 92:10      2 64:7,10,17
  42:14,15 46:6 weird 17:18                            year 8:19          68:2
  50:2 53:6       went 53:17              X            years 8:22 9:9   2-inch 64:23
  56:2 84:23       59:3,5 74:4,16                      yesterday        2/2/18 62:2
  85:2                                      Y                           20 7:2,4
                   74:17 76:24                          83:20
walked 30:6,7      79:11 80:3,23    Y-21806 1:4,20     young 51:16,17   2017 6:15
  38:9 39:10       81:11 83:6       yanked 18:17       younger 51:12    2018 13:8 14:16
  40:8 53:5,11    Weren't 50:12      18:20 23:18                          15:12 16:10
  73:17,18        Western 62:5      yeah 5:17 6:16            Z           61:2 62:3 63:1
walking 16:10      71:21             7:4 10:4 11:4     zeros 6:19         72:5 75:5
  18:8 22:15      white 30:22,23     11:19 12:19,24                       84:3 99:15
  23:17 24:16,16                     13:17 15:23              0         2019 1:12 96:22
                   30:24 33:17
  29:18 34:1,15    33:18 48:5,8,9    16:19 17:2,13     000020 6:23        97:4,11 98:1
  34:20 36:20      50:24 51:1        19:2,11 20:14     00003 62:21        99:21,22
  37:13,22,22     whoever's 11:18    20:16 21:15,21    00007 61:1       20s 51:18
  39:17 41:15,17 wide 28:10          22:4 23:4          72:9            21 7:21
  42:2,4,18       wing 14:17         24:22 25:22       084-004174       217 3:7
  45:22 46:1,24    16:23,24          25:24,24           3:21 96:20      27 6:15
  47:16 49:19      20:17             27:15 29:6,14                      2nd 16:10 61:2
                                     29:14 30:5                 1
  50:1 60:5,6     wiped 70:12                                             61:17 62:3
walkway 36:17 wiping 66:17           31:7 33:1,13      1 6:19 65:2        63:1 72:5 75:5
wall 22:5,12                         34:3 35:12        1-800-280-3...     75:16,23 84:3
                  witness 4:6                            3:23
  26:17,20 81:17   96:5,7 97:13      36:9 37:9
  84:19                              42:16,24 43:9     1:51 4:7                3
                   98:23                               10/18/21 9:12
want 55:2         woke 59:16,19      44:10 45:5,17                      3 63:23,24
  62:19 94:13                        46:21 47:2        10/4/18 77:6     3/31/18 75:13
                   59:22 60:3,3                        10:20 62:8,18
wanted 7:2         60:4,5,17,18      48:15 50:3,24                      3:36 95:4
  78:18 88:23                        52:23 53:19         71:1,20        3000 1:15
                   61:7 62:14                          100 91:15,16
  93:7,13          63:4              54:8,15,17                         31 96:22 99:21
                                     55:9,12,19        100,000 88:21    314 97:3,3

                           ALARIS LITIGATION SERVICES
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                3:18-cv-03142-SEM-TSH # 45-1   Page 37 of 37

                            JUWAN MOORE 1/9/2019

314-644-2191
 3:22
31st 75:14,16,24
3B 14:17
       4
4 2:3 20:10
4:45 72:8
       5
5 20:2 50:23
  61:22 70:24
  91:20,21 92:5
  92:10,11,17
500 3:6 97:6
       6
6 61:20,21,21
6-foot 31:22,23
62701 3:7 97:7
62704 1:16
63101 3:22 97:2
644-1334 97:3
644-2191 97:3
        7
7:45 15:17
711 3:21 97:1
782-2077 3:7
       8
8 20:2 50:23
        9
9 1:12 97:11 98:1
  99:22
9:00 63:1 70:22




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